                    IN THE SUPREME COURT OF NORTH CAROLINA

                                        2021-NCSC-88

                                         No. 115A04-3

                                     Filed 13 August 2021

     STATE OF NORTH CARLOLINA

                   v.
     SCOTT DAVID ALLEN


           On writ of certiorari pursuant to N.C.G.S. § 7A-32(b) to review orders

     dismissing defendant’s claims asserted in his motion for appropriate relief entered on

     22 August 2016, 8 January 2018, and 6 February 2019 by Judge V. Bradford Long in

     Superior Court, Montgomery County. Heard in the Supreme Court on 26 April 2021.


           Joshua H. Stein, Attorney General, by Nicholaos Vlahos, Assistant Attorney
           General, for the State-appellee.

           Olivia Warren and Michael L. Unti for defendant-appellant.


           EARLS, Justice.

¶1         This case involves numerous post-conviction claims raised by defendant Scott

     David Allen, who was found guilty of the first-degree murder of Christopher Gailey

     and sentenced to death in Montgomery County in 2003. Allen challenged his

     conviction and sentence on direct appeal, but this Court unanimously found no error.

     State v. Allen, 360 N.C. 297, 321 (2006). The Supreme Court of the United States

     denied certiorari. Allen v. North Carolina, 549 U.S. 867 (2006). Subsequently, Allen

     filed a motion for appropriate relief (MAR) in Superior Court, Montgomery County
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     (MAR court), in July 2007. Six years later, and before the MAR court ruled on his

     MAR, Allen filed a supplemental motion for appropriate relief (SMAR) amending

     some of his previous claims and adding two additional claims. The MAR court’s

     dismissal of these claims forms the basis of defendant’s petition to this Court.

¶2          Of the twelve total claims raised in Allen’s MAR and SMAR, five of them

     directly relate to his allegation that his trial attorneys rendered unconstitutionally

     ineffective assistance of counsel (IAC) during the guilt-innocence phase of his trial by

     failing to investigate, develop, and utilize various sources of exculpatory evidence.

     The evidence Allen presented in support of these claims includes affidavits from

     acquaintances of Allen and the State’s primary witness, Vanessa Smith, implicating

     Smith in Gailey’s murder, as well as a report from a crime scene expert concluding

     that in light of the physical evidence discovered at the scene of Gailey’s death, Smith’s

     account of Gailey’s killing was “unfathomable.” Notwithstanding this evidence and

     the centrality of Smith’s testimony to Allen’s conviction, the MAR court dismissed

     Allen’s guilt-innocence phase IAC claims without conducting an evidentiary hearing

     to resolve disputed issues of fact.

¶3          Based on well-established precedent, we conclude that Allen is entitled to an

     evidentiary hearing on his guilt-innocence phase IAC claims. Allen has “present[ed]

     assertions of fact which will entitle [him] to . . . relief . . . if resolved in his favor.”

     State v. McHone, 348 N.C. 254, 258 (1998). Therefore, under the statutory framework
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     governing post-conviction review of criminal convictions in North Carolina, the MAR

     court was obligated to conduct an evidentiary hearing prior to ruling on his MAR and

     SMAR claims, because “some of his asserted grounds for relief required the [MAR]

     court to resolve questions of fact.” Id. (interpreting N.C.G.S. § 15A-1420(c)(1)).

     Accordingly, we vacate the portions of the MAR court’s order summarily dismissing

     Allen’s guilt-innocence phase IAC claims and remand to the MAR court to conduct a

     full evidentiary hearing.

¶4         In addition, we hold that the trial court erred in summarily ruling that Allen’s

     claim alleging he was impermissibly shackled in view of the jury was procedurally

     barred. On this claim, we vacate the relevant portion of the MAR court’s order and

     remand for an evidentiary hearing to obtain the facts necessary to determine whether

     his claim is procedurally barred and, if not, whether it has merit. We affirm the MAR

     court’s disposition of all other claims raised in Allen’s MAR and SMAR.

                                 I.   Factual Background

     A. Gailey’s death and Allen’s trial.

¶5         In 1998, Allen escaped from a North Carolina Department of Corrections work

     release program. Shortly after fleeing, he reunited with Smith, with whom he had

     maintained an on-again, off-again romantic relationship. The couple drifted from

     hotel to hotel, living off settlement proceeds Smith received after her father’s death.

     Allen and Smith regularly purchased and used large quantities of illegal drugs
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     together. To evade detection, Allen obtained a friend’s birth certificate and driver’s

     license issued by the State of Washington. While travelling through Colorado, Allen

     became romantically involved with another woman, and Allen and Smith split up.

     The former couple returned to North Carolina separately in the spring of 1999. That

     summer, they began living together in a mobile home owned by a friend, Robert

     Johnson, near the Uwharrie National Forest. Various friends and acquaintances

     lived in the mobile home while Smith and Allen resided in it, including Gailey, Allen’s

     friend and sometimes drug dealer.

¶6         Sometime during the afternoon of 9 July 1999, Allen, Smith, and Gailey

     entered the Uwharrie National Forest. At some point that evening, somebody shot

     and killed Gailey. His body was later found by a passerby driving an all-terrain

     vehicle. Smith eventually told law enforcement Allen killed Gailey to steal his money

     and drugs. Both Allen and Smith were charged with murder.

¶7         Approximately two weeks before Allen was brought to trial, Smith—who by

     that time had spent approximately twenty-three months in jail—entered into an

     agreement with the State. In exchange for her testimony against Allen, the State

     would drop the murder charges against her, and she would plead guilty to a lesser

     offense. At trial, Smith testified that Allen was the sole person responsible for

     Gailey’s death and that Allen acted in cold blood. According to Smith, Allen

     assassinated Gailey by shooting him from behind, unprovoked, as they walked along
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     a path in the woods.

¶8         Because Allen did not testify, Smith provided the sole narrative of the events

     directly precipitating Gailey’s death. As we explained in our decision resolving Allen’s

     direct appeal, Smith was “a witness with less-than-perfect credibility.” Allen, 360

     N.C. at 306. She was a chronic heavy drug user who admitted to smoking marijuana

     shortly before Gailey’s death. She was involved in a tumultuous romantic relationship

     with Allen which he had recently broken off. She accused Allen of Gailey’s murder

     only after confronting him in Denver, Colorado, where Allen had reunited with a

     different ex-girlfriend. She testified at the trial pursuant to a deal with the State

     which significantly reduced her potential criminal liability.

¶9         According to Smith’s account of events, on 9 July 1999, Allen told her and

     Gailey he had stashed weapons in a cabin in the Uwharrie National Forest, which he

     thought they could recover and trade for money and cocaine. The trio left together in

     Gailey’s truck to retrieve the weapons sometime in the afternoon, while it was still

     light out. The party began walking along a path through the forest. Gailey was

     carrying a duffel bag and a .45-caliber handgun. Allen carried a sawed-off shotgun.

     During the walk, Gailey and Allen used powder cocaine. Smith smoked marijuana.

     Smith testified that after at least an hour of walking, the path narrowed, and the

     three proceeded single file with Gailey leading the way, followed by Allen and then

     Smith.
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¶ 10         At some point, Allen allegedly turned around, shoved Smith to the ground, and

       then without provocation began shooting at Gailey with the shotgun. Smith did not

       see Allen shoot Gailey, but she recounted hearing multiple gunshots. Smith and Allen

       then waited for “seven or eight hours” in a nearby cabin for Gailey to die. While they

       were waiting, Allen would periodically crawl towards Gailey’s body and throw rocks

       at him to ascertain whether Gailey was still alive. When Allen and Smith finally left

       the cabin, they heard Gailey empty his .45-caliber handgun.

¶ 11         Allen and Smith left the forest together in Gailey’s truck. Smith retrieved

       Gailey’s wallet and their belongings from the mobile home. The two then drove to

       Shallotte and then to Albemarle in search of cocaine. However, by this point, Smith’s

       memory had begun to deteriorate due to her drug use.

¶ 12         According to multiple witnesses, Smith and Allen ended up at a party at the

       home of one of Smith’s friends, where they encountered a man named Jeffrey Lynn

       Page, who would later testify at Allen’s trial. According to Page, who had never

       previously met Allen, Allen admitted that he had just shot a man in the Uwharrie

       National Forest and was looking to offload the dead man’s truck. Allen told Page he

       had thrown rocks at Gailey’s body to confirm he was dead because Allen knew Gailey

       was armed. Page bought Allen’s truck at well below market value and then flipped it

       to a South Carolina junk dealer for a profit. Like Smith, Page was also charged in

       connection with Gailey’s death—he was indicted for being an accessory after the fact
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       to Gailey’s murder—and testified at Allen’s trial pursuant to an agreement with the

       State.

¶ 13            Sometime after selling Gailey’s truck, Allen returned to Denver. Smith

       testified that one of her former romantic partners, who she reunited with shortly after

       Gailey’s death, loaned her money and a car to travel to Denver1 where she was able

       to track down Allen. Allen and Smith fought. Smith returned to North Carolina. Upon

       her return, Smith went to law enforcement to accuse Allen of murdering Gailey.

¶ 14            Law enforcement officers who examined the crime scene discovered the

       following evidence:

               A .45-caliber semi-automatic handgun between Gailey’s feet, loaded with a

                magazine containing five live rounds, and one spent .45-caliber shell casing

                jammed in the receiver;

               A number of live rounds of .45-caliber ammunition next to Gailey;

               A magazine containing live rounds several feet from Gailey’s head;

               A black t-shirt draped over a rock with another smaller rock on top of it,

                approximately four feet from Gailey’s body;

               A nylon handgun holster;

               Five expended shotgun shells;




                1The former romantic partner subsequently filed a police report and testified at
       Allen’s trial that rather than loaning Smith the money and her car, Smith stole both items.
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             A hunting knife located on top of a duffel bag;

             A yellow container with $1,944.00 in cash on Gailey’s body.

       According to the State’s forensic pathologist, Gailey died from two gunshot wounds,

       one to the back of his right shoulder from close range and another to his right knee

       from a further distance. In the pathologist’s opinion, Gailey probably lost

       consciousness “within a matter of minutes” of sustaining his injuries, and it was

       “extremely unlikely” Gailey survived for more than an hour or two after he was shot.

¶ 15          The State’s case rested primarily on the testimony of Smith and Page. No

       fingerprint, DNA, or forensic evidence connecting Allen to the crime scene was ever

       produced, nor was the alleged murder weapon—Allen’s sawed off-shogun—ever

       located. The jury was instructed on the offense of first-degree murder and the lesser

       included offenses of second-degree murder and voluntary manslaughter. During

       closing argument, the State emphasized Smith’s testimony that Allen had thrown

       rocks at Gailey’s body while they waited for hours for Gailey to die in seeking to

       persuade the jury to convict on a theory of malice, premeditation, and deliberation.

       Eschewing Smith’s initial theory that Allen murdered Gailey for his money, the State

       argued in closing that Allen killed Gailey “to keep him from ratting [Allen] out . . .

       [and] to keep [Allen] from being arrested for his year-long rampage.” The jury found

       Allen guilty of first-degree murder.

¶ 16          During the sentencing phase, the State submitted three aggravating
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       circumstances to the jury: (1) the murder was committed for the purpose of avoiding

       or preventing a lawful arrest; (2) the murder was committed for pecuniary gain; and

       (3) the murder was especially heinous, atrocious, or cruel. Allen’s trial counsel

       submitted one statutory mitigating circumstance and fourteen non-statutory

       mitigating circumstances. The jury determined the State had proven all three

       aggravating circumstances beyond a reasonable doubt. Allen established only two

       non-statutory mitigating circumstances—that he had been deeply affected by the

       death of his grandfather and that Allen’s death would have a detrimental impact on

       his family. The jury found the mitigating circumstances insufficient to outweigh the

       aggravating circumstances and that the aggravating circumstances, when considered

       with the mitigating circumstances, were sufficiently substantial to call for the

       imposition of the death penalty. Allen was sentenced to death.

       B. Allen’s MAR and SMAR claims.

¶ 17          Allen filed his initial MAR on 2 July 2007. In his MAR, Allen asserted the

       following ten claims:

             Claim I: The State knowingly presented false and misleading evidence at trial

              in violation of Allen’s rights under the Fourteenth Amendment to the

              Constitution of the United States.

             Claim II: Allen’s trial counsel provided IAC during the guilt-innocence phase

              by failing to investigate and call defense witnesses who could have provided
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       exculpatory evidence.

      Claim III: Allen’s trial counsel provided IAC during the guilt-innocence phase

       by failing to effectively cross-examine the State’s witnesses.

      Claim IV: The State failed to produce exculpatory material before trial in

       violation of Brady v. Maryland, 373 U.S. 83 (1963).

      Claim V: The trial court lacked jurisdiction to try, convict, and sentence Allen

       because the State’s indictment for first-degree murder was fatally deficient.

      Claim VI: Allen’s trial counsel rendered IAC during both the guilt-innocence

       and the sentencing phases of his trial by failing to object to the State’s improper

       statements during closing arguments.

      Claim VII: Allen’s trial counsel rendered IAC during the sentencing phase by

       failing to present testimony from a mental health expert.

      Claim VIII: Allen’s trial counsel rendered IAC during the sentencing phase by

       failing to investigate and present available mitigation evidence.

      Claim IX: Allen’s trial counsel rendered IAC during the sentencing phase by

       failing to adequately prepare Allen’s witnesses to testify.

      Claim X: Allen’s trial counsel rendered IAC based upon the cumulative effect

       of his counsel’s various errors during both the guilt-innocence and sentencing

       phases of his trial.

In support of his MAR, Allen submitted statements and affidavits from individuals
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       who interacted with Allen, Gailey, and Smith before and after Gailey’s death, as well

       as from Allen’s friends and family members. Allen also submitted affidavits from two

       mental health experts, Dr. John F. Warren III, a forensic psychologist, and Dr.

       Kristine M. Herfkens, a neuropsychologist.

¶ 18         On 19 September 2013, Allen filed his SMAR. In his SMAR, Allen

       supplemented and amended various claims he initially raised in his MAR based upon

       new   affidavits   and   statements     elicited   during   additional   post-conviction

       investigation. Allen again submitted affidavits from acquaintances of Smith’s who

       cast doubt on her version of events—including an affidavit from Smith’s former

       boyfriend stating that Smith told him she had been the one who developed and carried

       out the plan to jump Gailey and take his cocaine and cash. Of particular note, Allen

       submitted an affidavit and report prepared by Gregory McCrary (the McCrary

       Report), a former agent with the Federal Bureau of Investigation, who examined the

       evidence law enforcement found at the crime scene and determined it was

       inconsistent with Smith’s account of an unprovoked execution. Instead, McCrary

       concluded the evidence reflected a physical confrontation which had devolved into a

       shootout between Allen and Gailey.

¶ 19         Allen’s SMAR also contained two new claims:

                Claim XI: Allen’s trial counsel rendered IAC during the guilt-innocence

                 phase by failing to investigate evidence implicating a third party in Gailey’s
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                 murder.

                Claim XII: Allen was impermissibly shackled in the presence of the jury

                 without the trial court conducting a hearing or entering findings of fact as

                 to the need for restraints.

       Allen sought a new trial and sentencing hearing or, in the alternative, an evidentiary

       hearing on his MAR and SMAR claims.

¶ 20         In response, the State answered and moved for summary dismissal of all

       claims. On 17 May 2016, the MAR court sent the parties a Memorandum of Ruling

       asking the parties to draft proposed orders disposing of Allen’s MAR and SMAR

       claims. Ultimately, the MAR court issued three separate orders.

¶ 21         The first order—the “Order Summarily Dismissing Certain Claims of

       Defendant’s Motion for Appropriate Relief and Supplemental Motion for Appropriate

       Relief”—summarily dismissed Claims I, II, IV, V, VI, X, XI, and XII in their entirety

       and certain subparts of Claim III.2 The second order concerned the trial court’s

       decision to deny Allen access to some of Smith’s sealed mental health and substance

       abuse treatment records during trial. In this order, the MAR court provided for a

       “limited evidentiary hearing” to determine if Allen had presented sufficient evidence

       of prejudice to warrant a full evidentiary hearing. After conducting this limited



             2 The MAR court and the parties use numbers and Roman numerals interchangeably

       throughout the proceedings below. For consistency, we use Roman numerals when referring
       to Allen’s claims throughout this opinion.
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       evidentiary hearing, the MAR court dismissed these sub-claims in its “Order

       Granting State’s Motion to Dismiss Claims 3H, 3J, 3K and a Portion of 3I of

       Defendant’s Supplemental Motion for Appropriate Relief.” The third order—the

       “Order on State’s Summary Denial Motion on Claims VII, VIII, and IX”—granted

       Allen an evidentiary hearing on his claims alleging IAC during the sentencing phase

       of his trial. After completing this full evidentiary hearing, the MAR court dismissed

       these claims in its “Order Granting State’s Motion to Dismiss Claims [VII], [VIII],

       and [IX] of Defendant’s Motion for Appropriate Relief and Supplemental Motion for

       Appropriate Relief.”

¶ 22         On appeal, Allen challenges the MAR court’s disposition of every claim raised

       in his MAR and SMAR. On the claims the MAR court summarily denied or denied

       after the limited evidentiary hearing—Claims I, II, III, IV, V, VI, X, XI, and XII—

       Allen asks us to vacate the orders dismissing those claims and remand for a full

       evidentiary hearing. On the claims the MAR court denied after a full evidentiary

       hearing—Claims VII, VIII, and IX—Allen seeks a reversal of the order dismissing

       those claims and a remand for a new sentencing proceeding. The State opposes and

       asks this Court to affirm the MAR court’s orders dismissing all claims. We hold that

       the MAR court erred in summarily dismissing Allen’s guilt-innocence phase IAC

       claims, as well as his impermissible shackling claim. We affirm the portions of the

       MAR court’s orders dismissing all other claims.
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                                            II.     Analysis

¶ 23          Our examination of the MAR court’s disposition of Allen’s MAR and SMAR

       claims necessarily begins with the statutes governing post-conviction review. Under

       N.C.G.S. § 15A-1420, a capital defendant who files an MAR within the appropriate

       time period “is entitled to a hearing on questions of law or fact arising from the motion

       and any supporting or opposing information presented unless the court determines

       that the motion is without merit.” N.C.G.S. § 15A-1420(c)(1) (2019). When a capital

       defendant has properly filed an MAR, the trial court “must determine, on the basis of

       these materials and the requirements of this subsection, whether an evidentiary

       hearing is required to resolve questions of fact.” Id. If the defendant’s MAR and

       supporting materials create disputed issues of fact, then the MAR court is obligated

       to conduct an evidentiary hearing to resolve any disputed facts unless “the trial court

       can determine that the defendant is entitled to no relief even upon the facts as

       asserted by him.” McHone, 348 N.C. at 257.3 By contrast, when a defendant’s MAR


              3 When a non-capital defendant files an MAR pursuant to N.C.G.S. § 15A-1414(a)(1),

       which must be filed within ten days after entry of judgment, the trial court is not required to
       conduct an evidentiary hearing. Instead, as provided under N.C.G.S. § 15A-1420(c)(2), “[a]n
       evidentiary hearing is not required when the motion is made in the trial court pursuant to
       [N.C.G.S. §] 15A-1414, but the court may hold an evidentiary hearing if it is appropriate to
       resolve questions of fact.” N.C.G.S. § 15A-1420(c)(2) (2019) (emphases added). Because Allen
       is a capital defendant who did not file his MAR pursuant to N.C.G.S. § 15A-1414, the trial
       court lacks discretion to refuse to conduct an evidentiary hearing if his MAR and supporting
       materials created disputed factual issues which, if resolved in his favor, would entitle him to
       relief.
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       “presents only questions of law, including questions of constitutional law, the trial

       court must determine the motion without an evidentiary hearing.” Id.

¶ 24          Thus, our analysis of Allen’s challenge to the MAR court’s summary dismissal

       of certain claims differs from our analysis of Allen’s challenge to the MAR court’s

       dismissal of other claims after conducting an evidentiary hearing. We review the

       MAR court’s summary dismissal de novo to determine whether the evidence

       contained in the record and presented in Allen’s MAR—considered in the light most

       favorable to Allen—would, if ultimately proven true, entitle him to relief. McHone,

       348 N.C. at 258 (“Under subsection (c)(4), read in pari materia with subsection (c)(1),

       (c)(2), and (c)(3), an evidentiary hearing is required unless the motion presents

       assertions of fact which will entitle the defendant to no relief even if resolved in his

       favor.”) (emphasis added); see also State v. Jackson, 220 N.C. App. 1, 6 (2012) (“[T]he

       ultimate question that must be addressed in determining whether [an MAR] should

       be summarily denied is whether the information contained in the record and

       presented in the defendant’s [MAR] would suffice, if believed, to support an award of

       relief.”).4 If answering this question requires resolution of any factual disputes,




              4 To be clear, the MAR court only views the evidence presented in a defendant’s MAR

       in the light most favorable to the defendant when making the initial determination as to
       whether the facts alleged by the defendant would entitle the defendant to relief if proven
       true. Nothing in this opinion alters the undisputed premise that the defendant ultimately
       bears the burden of proving by a preponderance of the evidence “the existence of the asserted
       ground for relief.” N.C.G.S. § 15A-1420(c)(6).
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N.C.G.S. § 15A-1420(c)(1) requires us to vacate the summary dismissal order and

remand to the MAR court to conduct an evidentiary hearing. McHone, 348 N.C. at

259 (“This Court is not the appropriate forum for resolving issues of fact . . . .”). 5 At

this stage, the MAR court is entitled to summarily dismiss claims that are irrelevant

(e.g., claims that even if proven true, would not entitle the defendant to relief) and

claims that are without any apparent evidentiary basis (e.g., unsupported

assertions). When the factual allegations would entitle the defendant to relief if true,

and the defendant’s filings provide some evidentiary basis for the allegations, then

the MAR court must conduct an evidentiary hearing to determine the facts necessary

to resolve the claim on its merits. However, if the MAR court has already conducted

an evidentiary hearing, our role is “to determine . . . whether the findings of fact

support the conclusions of law, and whether the conclusions of law support the order

entered by the trial court.” State v. Matthews, 358 N.C. 102, 105–06 (2004) (quoting

State v. Stevens, 305 N.C. 712, 720 (1982)). The MAR court’s factual findings are

“binding upon the [defendant] if they [a]re supported by evidence,” even if the


       5   The dissent erroneously states that “this Court did not remand McHone for an
evidentiary hearing.” But see McHone, 348 N.C. at 258–60 (“[D]efendant also contends in the
present case that he was entitled to an evidentiary hearing before the trial court ruled on his
motion for appropriate relief as supplemented because some of his asserted grounds for relief
required the trial court to resolve questions of fact. We find this contention to have
merit. . . . The trial court erred in denying defendant's supplemental motion without an
evidentiary hearing. . . . [W]e reverse the trial court's order denying defendant's motion for
appropriate relief and remand this case to that court for further proceedings.”). Moreover,
McHone is not the only authority for the disposition in this case. The MAR statute itself
makes it clear that an evidentiary hearing is required in these circumstances.
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       evidence is “conflicting,” Stevens, 305 N.C. at 719–20, but the MAR court’s conclusions

       of law are always reviewed de novo, State v. McNeill, 371 N.C. 198, 220 (2018).

¶ 25         We proceed by applying this legal framework to Allen’s claims as follows: First,

       we review the portions of the MAR court’s order summarily dismissing Allen’s claims

       alleging he received IAC during the guilt-innocence phase of his trial. Second, we

       review the other claims addressed in the summary dismissal order which do not

       directly allege IAC. Third, we review the order dismissing certain subparts of Claim

       III relating to the trial court’s refusal to grant Allen access to Smith’s treatment

       records entered after the MAR court conducted a “limited evidentiary hearing.”

       Finally, we review the order dismissing Allen’s claims alleging IAC during the

       sentencing phase of his trial entered after the MAR court conducted a full evidentiary

       hearing.

       A. Ineffective assistance of counsel during the guilt-innocence phase.

¶ 26         Allen’s argument that his attorneys rendered IAC during the guilt-innocence

       phase of his trial encompasses multiple interrelated claims. Because these claims

       substantially overlap both factually and legally—and because the MAR court

       disposed of these claims in a single summary dismissal order—we consider them

       together. Specifically, in this section, we consider in their entirety Claim II (trial

       counsel’s failure to investigate and call certain witnesses), Claim VI (trial counsel’s

       failure to object to improper statements during closing arguments), Claim X
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       (cumulative prejudice arising out of trial counsel’s multiple instances of deficient

       performance), and Claim XI (trial counsel’s failure to investigate evidence of a third

       party’s guilt). We also consider the subparts of Claim III (trial counsel’s failure to

       effectively cross-examine the State’s witnesses) which the MAR court resolved

       without conducting an evidentiary hearing. Although addressed in the same order,

       we separately address the claims which do not predominantly concern Allen’s IAC

       allegations, namely Claim I (the State knowingly presented false and misleading

       evidence), Claim IV (the State failed to disclose exculpatory evidence before trial),

       Claim V (the trial court lacked jurisdiction because Allen’s indictment was fatally

       deficient), and Claim XII (Allen was impermissibly shackled in view of the jury).

¶ 27          This Court has “expressly adopt[ed]” the two-part test articulated in

       Strickland v. Washington, 466 U.S. 668 (1984), as the “uniform standard to be applied

       to measure ineffective assistance of counsel under the North Carolina Constitution”

       and the Sixth Amendment to the Constitution of the United States. State v. Braswell,

       312 N.C. 553, 562–63 (1985). Under the first prong of the Strickland test, a defendant

       must “establish that counsel’s performance was deficient.” State v. Todd, 369 N.C.

       707, 710 (2017). To prove deficient performance, “the defendant must show that

       counsel’s representation fell below an objective standard of reasonableness.”

       Strickland, 466 U.S. at 688. Under the second prong of the Strickland test, the

       “defendant must demonstrate that the deficient performance prejudiced [his]
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       defense.” Todd, 369 N.C. at 710–11. To prove prejudice, “[t]he defendant must show

       that there is a reasonable probability that, but for counsel’s unprofessional errors,

       the result of the proceeding would have been different. A reasonable probability is a

       probability sufficient to undermine confidence in the outcome.” Strickland, 466 U.S.

       at 694.

¶ 28         We begin by examining Allen’s assertion that his trial counsel unreasonably

       failed to investigate the crime scene evidence, which is contained within Claim III as

       supplemented and amended in his SMAR. This portion of Claim III is substantially

       based upon the evidence contained in the McCrary Report. McCrary was retained by

       Allen’s post-conviction counsel to independently assess the evidence discovered by

       law enforcement at the scene of Gailey’s death. Based upon his analysis of the crime

       scene evidence, McCrary concluded that portions of Smith’s testimony were

       incompatible with the physical evidence and, in his judgment, “unfathomable.”

       According to McCrary, the crime scene evidence “refute[s] Ms. Smith’s assertion that

       Mr. Gailey was assassinated in cold blood, never having got his gun out.” Instead, in

       McCrary’s opinion, “the totality of the evidence at the [crime] scene is more consistent

       with a dispute that deteriorated into a gunfight and significantly contradicts and

       discredits Ms. Smith’s story.”

¶ 29         Allen alleges his trial counsel were deficient for failing to obtain information

       regarding the inconsistencies between Smith’s testimony and the crime scene
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       evidence prior to trial. In Allen’s view, counsel’s failure to adequately investigate the

       crime scene prejudiced his case in at least two ways. First, it deprived him of the

       opportunity to choose to present testimony based upon the crime scene evidence

       which would have directly rebutted Smith’s account of Gailey’s death. Second, it

       deprived his counsel of the capacity to effectively cross-examine Smith on the

       discrepancies between her account and the physical evidence. The MAR court did not

       conduct an evidentiary hearing on this claim, and Allen seeks only a remand for an

       evidentiary hearing. Therefore, the question at this stage is not whether Allen has

       proven that he received IAC. Instead, the question is whether he has stated facts

       which, if proven true, would entitle him to relief. We conclude that he has.

¶ 30         An attorney can render IAC by failing to conduct an adequate investigation of

       the physical evidence of a crime. See, e.g., Elmore v. Ozmint, 661 F.3d 783, 864 (4th

       Cir. 2011) (“Because [the defendant] lawyers’ investigation into the State’s forensic

       evidence never started, there could be no reasonable strategic decision either to stop

       the investigation or to forgo use of the evidence that the investigation would have

       uncovered.”). Here, Allen has presented evidence which could support factual findings

       which could, in turn, establish a successful IAC claim. He has presented evidence

       supporting his contentions that (1) counsel were aware of the importance of the crime

       scene evidence before trial but unreasonably failed to follow up on these “red flags,”

       Rompilla v. Beard, 545 U.S. 374, 392 (2005); (2) counsel did not perform an
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       independent investigation of the crime scene evidence; (3) counsel’s conduct was

       unreasonable when judged against prevailing professional norms in capital cases,

       including those outlined in the American Bar Association’s guidelines; and (4)

       counsel’s unreasonable failure to investigate was prejudicial. Given the centrality of

       Smith’s testimony to the State’s case, if each of these factual contentions were proven

       to be true, Allen would be entitled to a new trial. See, e.g., Elmore, 661 F.3d at 870
       (“Though perhaps the jury would have yet believed the [State’s witnesses], there is a

       reasonable probability that the jury would have doubted the [witnesses’] account” had

       defense counsel presented contradictory forensic evidence); Rompilla, 545 U.S. at 376
       (“The undiscovered . . . evidence, taken as a whole, might well have influenced the

       jury’s appraisal of [the defendant’s] culpability, and the likelihood of a different result

       had the evidence gone in is sufficient to undermine confidence in the outcome actually

       reached . . . .” (cleaned up) (first quoting Wiggins v. Smith, 539 U.S. 510, 538 (2003);

       then quoting Strickland, 466 U.S. at 694)). Thus, the MAR court erred in summarily

       dismissing Allen’s guilt-innocence IAC claims.

¶ 31          The MAR court’s reasoning in support of its decision to summarily dismiss

       these claims is critically flawed. According to the MAR court, Allen’s counsel’s failure

       to consult with or present testimony from a crime scene expert resulted from a “sound

       tactical decision.” This “sound tactical decision” purportedly reflected the reasonable

       trial strategy of “focus[ing] on the doubt created by Smith’s gaps in memory, addiction
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       and use of controlled substances on the date of Gailey’s death, and failure to maintain

       a cohesive timeline, rather than attempting to prove Defendant’s innocence through

       the use of a crime scene analyst.”

¶ 32         It is correct that in considering an IAC claim, “a court must indulge a strong

       presumption that counsel’s conduct falls within the wide range of reasonable

       professional assistance.” Strickland, 466 U.S. at 689. However, this presumption is

       rebuttable. Once a defendant presents evidence rebutting the presumption of

       reasonableness, the court is not at liberty to invent for counsel a strategic justification

       which counsel does not offer and which the record does not disclose. See Wiggins, 539

       U.S. at 526–27 (rejecting “strategic” reasons that “the state courts and respondents

       all invoke to justify counsel’s limited pursuit of mitigating evidence [as] resembl[ing]

       more [of] a post hoc rationalization of counsel’s conduct than an accurate description

       of their deliberations prior to sentencing”).

¶ 33         In this case, Allen has presented direct evidence indicating his trial counsel’s

       decision not to adequately investigate the crime scene—and their resulting decision

       not to present evidence derived from an adequate investigation or use such evidence

       to impeach Smith’s testimony—was not a reasonable strategic choice. His SMAR

       included an affidavit from one of his two trial attorneys explicitly stating that he

       “do[es] not recall [either himself or Allen’s other attorney] making any strategic

       decisions to limit the cross-examination of the State’s witnesses, including Vanessa
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       Smith.” This directly undercuts the MAR court’s presently unsupported theory that

       counsel’s failure to investigate resulted from a “tactical decision” to focus on Smith’s

       lack of credibility due to her drug use.6 If it is true that trial counsel’s “failure to

       investigate thoroughly resulted from inattention, not reasoned strategic judgment,”

       then counsel’s performance was deficient. Wiggins, 539 U.S. at 526.

¶ 34          Even if trial counsel chose to pursue a “strategy” of focusing on Smith’s lack of

       credibility, counsel’s failure to adequately investigate the crime scene could still be

       unreasonable. Strickland, 466 U.S. at 690–91 (“[S]trategic choices made after less

       than complete investigation are reasonable precisely to the extent that reasonable

       professional judgments support the limitations on investigation.”). With the benefit

       of insights gleaned from the crime scene, counsel could have directly contradicted

       Smith’s account of Gailey’s death with tangible, extrinsic evidence, a tactic which

       would only serve a strategy centered around attacking Smith’s credibility. To answer

       the question of whether Allen’s counsel made a reasonable strategic judgment in

       foregoing a thorough investigation of the crime scene, the MAR court needed to


              6  The dissent advances the curious and novel position that because Allen’s trial
       counsel had represented other capital defendants without rendering IAC and had not been
       disciplined by the State Bar, Allen could not have received IAC at his trial or sentencing
       proceeding. The dissent cites no relevant authority for that proposition. The State never made
       this argument and we reject this contention. Obviously, the adequacy of an attorney’s
       representation in one trial does not establish the adequacy of an attorney’s representation in
       a different trial, nor does the IAC claim require that an attorney have been disciplined by the
       State Bar in order to demonstrate ineffective assistance. See, e.g., Strickland, 466 U.S. at 687       (explaining that to prove IAC, a defendant must “show that counsel’s performance was
       deficient” and “that the deficient performance prejudiced the defense”).
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       resolve factual issues, a task our statutes do not permit it to undertake in these

       circumstances without first conducting an evidentiary hearing.

¶ 35         Alternatively, the MAR court rested its conclusion that Allen’s counsel was not

       deficient on the following brief statement Allen made during a colloquy with the trial

       court regarding his rights as a criminal defendant:

                    THE COURT: Knowing that you have the right to present
                    evidence and you have the right not to, what is your desire
                    about presenting evidence in this case?

                    MR. ALLEN: Well, I don’t know anything. I don’t know
                    what happened, so I have nothing to contribute to it.

       According to the MAR court, this statement proves that “defense counsel[’s] decision

       not to call any witnesses [during] the guilt[-innocence] phase of Defendant’s trial was

       a tactical decision that was made after consultation with Defendant.” Even if this

       perfunctory exchange could possibly support the conclusion that counsel’s choices

       were strategic, it does not necessarily disprove Allen’s contention that counsel’s

       “tactical decision” was unreasonable, nor his argument that counsel could not

       reasonably make such an important “tactical decision” without first conducting an

       adequate investigation of the crime scene evidence.

¶ 36         The State’s arguments in support of the MAR court’s order are also

       unpersuasive. The State appears to argue that even if Allen’s counsel were deficient,

       Allen could not have been prejudiced because the crime scene evidence in no way

       detracted from the State’s overwhelming evidence of guilt. To begin with, Allen need
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                                          Opinion of the Court



       not present evidence which, if believed, would entirely exculpate him of all criminal

       conduct relating to Gailey’s killing. Allen was convicted of first-degree murder, which

       made him eligible to receive the death penalty. Yet the trial court also instructed on

       lesser included offenses for which he would not have been eligible to receive the death

       even if he were convicted. If counsel’s conduct resulted in Allen being convicted of

       first-degree murder rather than second-degree murder or voluntary manslaughter,

       then Allen was prejudiced.

¶ 37         Regardless, the State’s argument that Allen cannot prove prejudice rests on

       two erroneous premises. First, the State contends the McCrary Report cannot support

       Allen’s IAC claim because it failed to account for the State’s evidence indicating Allen

       shot Gailey “in the back at close range with a shotgun.” This assertion is belied by

       the text of the McCrary Report, which explicitly acknowledges the State’s medical

       examiner’s conclusion that Gailey was shot from “quite close, within a matter of a

       foot or so” and also from “several yards away.” McCrary’s conclusion that “the totality

       of the evidence at the [crime] scene is more consistent with a dispute that deteriorated

       into a gunfight” reflects his interpretation of all of the crime scene evidence, including

       the evidence the State relied upon in support of Allen’s conviction.

¶ 38         Second, the State argues that because there was evidence indicating Allen shot

       Gailey “in the back at close range with a shotgun,” no rational juror could possibly

       conclude that Allen committed anything other than first-degree murder. As the State
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       bluntly puts it, “[s]hooting someone in the back at close range with a shotgun is not

       a gunfight, it is premeditated and deliberated murder.” This argument incorrectly

       suggests that Allen’s intent has been established as a matter of law by the manner of

       Gailey’s death. The State disregards more than a century of precedent explaining

       that “[w]hether an act is the result of premeditation and deliberation is a fact to be

       found by the jury, and not a conclusion of law to be drawn by the court.” State v.

       Daniels, 134 N.C. 671, 674 (1904).

¶ 39         While the jury could have inferred that Allen acted with premeditation and

       deliberation based upon “the distance from which the shot was fired and . . . the

       weapon and ammunition used,” State v. Reece, 54 N.C. App. 400, 406 (1981), these

       facts would not have precluded Allen from persuading the jury to draw a different

       inference, see State v. Walker, 332 N.C. 520, 533 (1992) (concluding that the “nature

       of the killing, a contact shot to the temple, indicates a premeditated and deliberate

       act of homicide . . . [which] support[s] a reasonable inference” of intent (emphases

       added)). The nature of Gailey’s wounds is not necessarily inconsistent with the

       alternative theory propounded by McCrary of a drug-fueled confrontation that turned

       fatal, a theory Allen alleges is supported by physical evidence from the crime scene,
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       such as the evidence demonstrating Gailey fired his weapon and the unexplained

       presence of a hunting knife.7

¶ 40         As described above, in addition to his argument based upon counsel’s

       purported failure to adequately investigate the crime scene evidence, Allen raises

       other related IAC claims challenging other aspects of his trial counsel’s performance

       during the guilt-innocence phase of his trial. Having already determined that the

       MAR court erred in summarily denying one of Allen’s IAC claims, we need not

       address his other claims here without the benefit of a more fully developed factual

       record. Applying the two-prong Strickland test, we conclude that Allen has presented

       evidence supporting his contention that his attorneys provided IAC during the guilt-

       innocence phase of his trial, creating factual disputes which, if resolved in his favor,

       would entitle him to relief. At a minimum, he is entitled to further develop these

       claims during an evidentiary hearing. Todd, 369 N.C. at 712 (remanding for an

       evidentiary hearing because “the record before th[e] Court [was] not thoroughly

       developed regarding defendant’s appellate counsel’s reasonableness, or lack thereof,

       in choosing not” to pursue an argument).




             7 Further, if the evidence could only support the conclusion Allen had committed first-

       degree murder, the trial court would have had no reason to instruct on the lesser included
       offenses of second-degree murder and voluntary manslaughter, neither of which requires the
       State to prove the killing was committed with premeditation and deliberation.
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                                        Opinion of the Court



¶ 41         Accordingly, we vacate the relevant portions of the MAR court’s order

       summarily dismissing Allen’s guilt-innocence IAC claims. Because “an evidentiary

       hearing is required unless the motion presents assertions of fact which will entitle

       the defendant to no relief even if resolved in his favor, or the motion presents only

       questions of law, or the motion is made pursuant to N.C.G.S. § 15A-1414,” McHone,

       348 N.C. at 258 (emphasis added), we remand to the MAR court to conduct an

       evidentiary hearing. At the evidentiary hearing, the MAR court will determine

       whether Allen’s counsel were deficient and, if so, whether counsel’s deficient

       performance was prejudicial.

¶ 42         If the MAR court reaches the question of prejudice, the MAR court must

       examine whether any instances of deficient performance at discrete moments in the

       trial prejudiced Allen when considered both individually and cumulatively. We reject

       the MAR court’s erroneous conclusion that cumulative prejudice is unavailable to a

       defendant asserting multiple IAC claims. We have previously acknowledged

       cumulative prejudice IAC claims, see, e.g., State v. Thompson, 359 N.C. 77, 121–22

       (2004) (recognizing cumulative prejudice argument but dismissing IAC claim on other

       grounds), as has the United States Supreme Court in Williams v. Taylor, 529 U.S.

       362, 396–98 (2000). Therefore, we adopt the reasoning of the unanimous Court of

       Appeals panel which recently concluded that “because [IAC] claims focus on the

       reasonableness of counsel’s performance, courts can consider the cumulative effect of
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                                              Opinion of the Court



       alleged errors by counsel.” State v. Lane, 271 N.C. App. 307, 316, review dismissed,

       376 N.C. 540 (2020), review denied, 851 S.E.2d 624 (N.C. 2020). 8 To be clear, only

       instances of counsel’s deficient performance may be aggregated to prove cumulative

       prejudice—the cumulative prejudice doctrine is not an invitation to reweigh all of the

       choices counsel made throughout the course of representing a defendant.

¶ 43          We next address the portions of the “Order Summarily Dismissing Certain

       Claims of Defendant’s Motion for Appropriate Relief and Supplemental Motion for

       Appropriate Relief” disposing of Claims I, IV, V, and XII.

          1. Knowing presentation of false and misleading evidence.

¶ 44          In Claim I of his MAR and SMAR, Allen alleges that the State violated his

       constitutional rights by allowing Smith to testify in a manner the State knew to be



              8 Our decision to recognize cumulative prejudice claims is based upon our own
       interpretation of Strickland and IAC doctrine, and is in accord with numerous federal and
       state appellate decisions (including the recent decision by our Court of Appeals), none binding
       on this Court, but which we find persuasive. See, e.g., Williams v. Washington, 59 F.3d 673,
       681 (7th Cir. 1995) (“In making this showing [of prejudice], a petitioner may demonstrate
       that the cumulative effect of counsel's individual acts or omissions was substantial enough
       to meet Strickland’s test.”); Rodriguez v. Hoke, 928 F.2d 534, 538 (2d Cir. 1991) (“Since [the
       defendant’s] claim of ineffective assistance of counsel can turn on the cumulative effect of all
       of counsel's actions, all his allegations of ineffective assistance should be reviewed together.”);
       Ewing v. Williams, 596 F.2d 391, 395 (9th Cir. 1979) (“[E]ven where, as here, several specific
       errors are found, it is the duty of the Court to make a finding as to prejudice, although this
       finding may either be ‘cumulative’ or focus on one discrete blunder in itself prejudicial.”);
       State v. Clay, 824 N.W.2d 488, 500 (Iowa 2012) (“[W]e [ ] look to the cumulative effect of
       counsel's errors to determine whether the defendant satisfied the prejudice prong of the
       Strickland test.”); State v. Thiel, 2003 WI 111, ¶ 4, 264 Wis. 2d 571, 581, 665 N.W.2d 305,
       311 (“We conclude that counsel's performance was deficient in several respects and that the
       cumulative effect of the deficiencies prejudiced [the defendant’s] defense to an extent that it
       undermines our confidence in the outcome of the trial.”).
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       false and misleading. In support of his claim, Allen relies principally on post-

       conviction affidavits from individuals whose account of events surrounding Gailey’s

       death differ from and conflict with Smith’s recollection. The MAR court determined

       this claim was procedurally barred pursuant to N.C.G.S. § 15A-1419(a)(3), which

       provides in relevant part that it is “grounds for the denial of a motion for appropriate

       relief, including motions filed in capital cases . . . [if u]pon a previous appeal the

       defendant was in a position to adequately raise the ground or issue underlying the

       present motion but did not do so.” In the alternative, the MAR court concluded this

       claim was meritless.

¶ 45         On direct appeal, Allen alleged that the State presented two portions of Smith’s

       testimony which it knew to be false and misleading. Allen, 360 N.C. at 305. He argued

       that the State knew Smith’s account of waiting hours for Gailey to die and hearing

       Gailey “empty his gun out” as she left the Uwharrie National Forest was false and

       misleading in light of the medical examiner’s testimony that Gailey could not have

       survived more than a brief time after being shot. Id. We rejected this claim, noting

       the “difference between the knowing presentation of false testimony and knowing

       that testimony conflicts in some manner.” Id.
¶ 46         Assuming without deciding that Claim I is not procedurally barred—and even

       if the facts alleged in his supporting affidavits were proven to be true—the same

       distinction we recognized on direct appeal controls our disposition of Allen’s MAR
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       claim. We must again conclude that “nothing in the record tends to show the [State]

       knew [Smith’s] testimony was false.” Id. at 306. Thus, Allen cannot meet his burden

       of proving that the State “knowingly and intentionally used” false and misleading

       testimony “to obtain his conviction.” State v. Williams, 341 N.C. 1, 16 (1995).

       Accordingly, we affirm the portion of the MAR court’s order summarily dismissing

       Claim I.

          2. Failure to produce exculpatory material before trial in violation of
             Brady v. Maryland.

¶ 47         In Claim IV of his MAR, Allen alleges that the State violated his constitutional

       rights as established in Brady v. Maryland, 373 U.S. 83 (1963). To establish a

       successful Brady claim, a defendant must prove that the State withheld evidence

       which would have been “favorable” to the defendant, either as impeachment evidence

       or exculpatory evidence, and that the evidence was “material,” meaning “there is a

       ‘reasonable probability’ of a different result had the evidence been disclosed.” State v.

       Williams, 362 N.C. 628, 636 (2008) (quoting State v. Berry, 356 N.C. 490, 517 (2002)).

                    A defendant’s burden . . . is more than showing that
                    withheld evidence might have affected the verdict, but less
                    than showing that withheld evidence more likely than not
                    affected the verdict. When we consider whether there was
                    a reasonable probability that the undisclosed evidence
                    would have altered the jury’s verdict, we consider the
                    context of the entire record.

       State v. Best, 376 N.C. 340, 349 (2020) (cleaned up) (quoting United States v. Agurs,

       427 U.S. 97, 112 (1976)), petition for cert. filed, No. 20-1608 (U.S. May 18, 2021).
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¶ 48         The basis for Allen’s Brady claim was that the State provided an incomplete

       account of Page’s criminal record prior to putting him on the stand to testify.

       Although the State did convey information regarding other of Page’s prior criminal

       convictions, the State failed to disclose Page’s two prior criminal convictions for

       misdemeanor injury to personal property.

¶ 49         We are persuaded that Allen cannot prove these omitted prior convictions were

       “material” within the meaning of Brady. When Page testified, the jury was made

       aware of the fact that Page had previously been convicted of other, more serious

       crimes, that he had been charged as an accessory after the fact to Gailey’s murder,

       and that he had initially made false statements to law enforcement regarding his

       interactions with Allen. Informing the jury that Page had also committed two other

       minor crimes could not have meaningfully altered the jury’s perception of Page’s

       credibility as a witness. Under these circumstances, where the withheld information

       is substantially similar to information properly disclosed to counsel and presented to

       the jury, we conclude that Allen cannot “show[ ] that the favorable evidence could

       reasonably be taken to put the whole case in such a different light as to undermine

       confidence in the verdict.” Kyles v. Whitley, 514 U.S. 419, 435 (1995).

          3. The trial court’s jurisdiction to try, convict, and sentence Allen.

¶ 50         In Claim V of his MAR, Allen alleges that his short-form indictment was

       constitutionally improper for failing to fully state the elements of first-degree murder
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       and the aggravating circumstances to be submitted to the jury. Allen raised this exact

       claim on direct appeal, which we denied, explaining that this Court has “consistently

       ruled short-form indictments for first-degree murder are permissible under . . . the

       North Carolina and United States Constitutions.” Allen, 360 N.C. at 316. Since

       Allen’s direct appeal, there has been no retroactively effective change in the

       applicable law. Accordingly, we affirm the portion of the MAR court’s order

       summarily dismissing this claim on the ground that it is procedurally barred

       pursuant to N.C.G.S. § 15A-1419(a)(2).

          4. Impermissible shackling in view of the jury.

¶ 51         In Claim XII of his SMAR, Allen alleged that he was impermissibly shackled

       in view of the jury without justification, in violation of his constitutional rights. In

       support of his claim, Allen produced an affidavit from one juror stating that she

       “know[s] that . . . Allen had some type of shackles or restraints on during the trial”

       and an affidavit from an alternate juror stating that he “noticed . . . Allen’s

       appearance and demeanor in the courtroom . . . [and] saw that he had tattoos on his

       body and that he was wearing leg irons.” In addition, Allen’s post-conviction counsel

       disclosed to the MAR court that a different juror “told post-conviction investigators

       that [Allen] was shackled and ‘there were deputies all around him’ ” but refused to

       sign an affidavit. The State argued, and the MAR court agreed, that Allen’s claim was

       procedurally barred under N.C.G.S. § 15A-1419(a)(3). In the alternative, the MAR
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       court concluded that even if Allen’s shackling claim was not procedurally barred, it

       was meritless.

¶ 52         Under both the North Carolina Constitution and the Constitution of the United

       States, a defendant may not be visibly shackled in the courtroom in the presence of

       the jury unless there is a special need for restraints specific to the defendant. See

       State v. Tolley, 290 N.C. 349, 367–68 (1976); see also Deck v. Missouri, 544 U.S. 622,

       626 (2005) (“The law has long forbidden routine use of visible shackles during the

       guilt phase; it permits a State to shackle a criminal defendant only in the presence of

       a special need.”). Mirroring this constitutional rule, North Carolina law permits a

       trial court to order a defendant restrained in the courtroom only when doing so is

       “reasonably necessary to maintain order, prevent the defendant’s escape, or provide

       for the safety of persons,” and only after the trial court “[e]nter[s] in the record out of

       the presence of the jury and in the presence of the person to be restrained and his

       counsel, if any, the reasons for” imposing the restraints. N.C.G.S. § 15A-1031 (2019).

       The defendant must also be afforded an opportunity to be heard on the matter, and

       the trial court must instruct the jurors “that the restraint is not to be considered in

       weighing evidence or determining the issue of guilt.” Id.; see also Sigmon v. Stirling,

       956 F.3d 183, 202 (4th Cir. 2020) (noting the “longstanding” constitutional

       requirement “for the trial court to articulate a reason for [imposing] visible restraints

       on the record”). Typically, adherence to this mandatory statutory procedure ensures
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       that evidence of a defendant’s shackling appears in the record and transcript of trial,

       enabling the defendant to challenge the trial court’s decision to impose restraints on

       direct appeal.

¶ 53         In this case, however, there is no evidence in the record and transcript

       suggesting Allen was restrained at all during trial. The trial court did not enter

       factual findings as would have been required prior to ordering Allen shackled

       pursuant to N.C.G.S. § 15A-1031. The record and transcript do not reflect that Allen

       entered an objection or otherwise noted that he was restrained in a manner visible to

       the jury at any point during trial. The record and transcript reflect that Allen did not

       request and the trial court did not give a jury instruction that his appearance in

       restraints was not to be considered as evidence of his guilt.

¶ 54         Consistent with the logic of our decision in State v. Hyman, 371 N.C. 363
       (2018), we conclude that the MAR court erred in summarily dismissing Allen’s

       shackling claim as procedurally barred. We reject the State’s invitation to construe

       N.C.G.S. § 15A-1419(a)(3) broadly as a general prohibition on post-conviction review

       of any claim not raised on direct appeal. Instead, we agree with Allen that a claim is

       not procedurally barred when the record on appeal is completely silent as to

       dispositive facts necessary to prove or disprove the claim. Because the record does not

       reveal the information necessary to determine whether Allen’s claim is procedurally

       barred, the MAR court erred in summarily concluding that Allen was “in a position
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       to adequately raise the ground or issue underlying the [MAR claim]” on direct appeal

       within the meaning of N.C.G.S. § 15A-1419(a)(3).

¶ 55         In Hyman, we held that a defendant was not procedurally barred from raising

       an IAC claim on post-conviction review, even though he had not raised the claim on

       direct appeal. Hyman, 371 N.C. at 383. In that case, the defendant’s IAC claim

       challenged his attorney’s failure to withdraw from representing him during trial. Id.

       at 381. The attorney worked at a law firm that had previously represented a witness

       who was testifying at the defendant’s trial and whose testimony inculpated the

       defendant. Id. at 367–68. During cross-examination, an exchange between counsel

       and the inculpating witness suggested that the witness had previously conveyed a

       different account of the events in question than the one the witness was offering at

       trial. Id. at 372. The defendant argued that his attorney should have withdrawn from

       the representation and testified regarding the content of this alleged prior

       conversation. Id. at 367.

¶ 56         In concluding that the Hyman defendant’s claim was not procedurally barred,

       we explained that in order to prove that his attorney rendered IAC, the defendant

       was required to prove numerous facts, including that (1) the alleged pretrial

       conversation between the witness and the defendant’s attorney had indeed occurred;

       (2) the witness made statements inconsistent with his trial testimony during said

       conversation; (3) the attorney did not have a strategic reason for failing to withdraw
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       from representing the defendant; and (4) the testimony the attorney would have been

       able to deliver would have benefitted the defendant. Id. at 384–85. We reasoned that

       because “[t]he record developed at trial did not contain any information affirmatively

       tending to show” any of those facts, the record did not “contain[ ] sufficient

       information to permit the reviewing court to make all the factual and legal

       determinations necessary to allow a proper resolution of the claim in question.” Id. at

       383–84 (emphasis added). We thus held that the procedural bar set forth in N.C.G.S.

       § 15A-1419(a)(3) did not apply. Id. at 385.

¶ 57         This reasoning requires us to hold that the MAR court erred in summarily

       concluding that Allen’s shackling claim was procedurally barred. To assess Allen’s

       shackling claim, three threshold facts must first be established. First, Allen must

       show that he was indeed shackled in the courtroom. Second, he must establish that

       the shackles were visible to the jury. Third, he must establish whether or not his trial

       counsel was aware that he was shackled in a way that was visible to the jury in the

       courtroom. Only when these facts have been established is it possible for a reviewing

       court to ascertain (1) whether or not the claim is procedurally barred, and (2) whether

       or not the trial court imposed restraints under circumstances which undermined the
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                                                2021-NCSC-88

                                             Opinion of the Court



       fairness of the defendant’s trial and the validity of its outcome.9 See State v. Holmes,

       355 N.C. 719, 729 (2002) (holding that where shackles are not visible to the jury, “the

       risk is negligible that the restraint undermined the dignity of the trial process or

       created prejudice in the minds of the jurors by suggesting that defendant is a

       dangerous person”).

¶ 58          The record and transcript from Allen’s trial are devoid of any information

       which would allow a court to resolve these central factual questions. If Allen had

       brought his claim on direct appeal, the only way a reviewing court could assess his

       claim would be by guessing or presuming answers. This is precisely the kind of

       circumstance in which further factual development is necessary to reach an informed

       judgment of a defendant’s claim. As Hyman illustrates, given the affidavits Allen filed

       which indicate he may be able to prove the facts necessary to prevail on his claim, the

       proper course is to analyze Allen’s shackling claim after an evidentiary hearing to

       determine the central facts at issue, rather than ruling without receiving the



              9 We do not have before us the question of whether counsel’s failure to object to the

       imposition of visible restraints could form the basis of an IAC claim. See, e.g., Roche v. Davis,
       291 F.3d 473, 483 (7th Cir. 2002) (concluding that a capital defendant’s counsel was deficient
       under Strickland because “not only did counsel fail to object to [the defendant’s] shackling,
       he also failed to ensure that [the defendant’s] shackles would not be visible to the jury while
       [the defendant] was sitting at counsel’s table during the entire trial”); Jackson v. Washington,
       270 Va. 269, 280 (2005) (concluding that “counsel’s failure to object to [the defendant] being
       compelled to stand trial before the jury in jail clothes” rendered IAC). We leave it to the MAR
       court in the first instance to determine whether Allen should be permitted to again amend
       his MAR to include an allegation that he received IAC based upon a failure to object to his
       alleged shackling in view of the jury.
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                                            2021-NCSC-88

                                          Opinion of the Court



       necessary facts.

¶ 59         The State argues that we should ignore the impossibility of resolving Allen’s

       claim on the existing record because the insufficiency of the record purportedly

       results from Allen’s own failure to supply at trial or on appeal the necessary

       information. Yet this presumes that either Allen or his trial counsel possessed all of

       the information required to perfect the record on appeal. Even though Allen and his

       counsel would have known whether Allen was shackled at trial, they may not have

       known whether his shackles were visible to the jury or whether, in the absence of a

       hearing on the matter, he was legally compelled to be shackled in the courtroom. More

       facts are needed to ascertain whether Allen was in an adequate position to raise this

       claim on direct appeal.

¶ 60         The State argues in the alternative that Allen is precluded from raising his

       shackling claim on post-conviction review because he failed to object to his purported

       shackling at trial. This argument misses the mark. Subsection 15A-1419(a)(3)

       contains no language restricting post-conviction review to claims that were preserved

       at trial. Indeed, claims preserved at trial can always be brought on direct appeal and

       the statute would, construed in this way, effectively prevent post-conviction review of

       all claims. The legislature did not include any language suggesting that a defendant’s

       failure to object at trial triggers application of the procedural bar. We reject the

       State’s invitation to read into the statute an extra-textual requirement the legislature
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                                             2021-NCSC-88

                                          Opinion of the Court



       understandably did not see fit to include.

¶ 61         We have previously rejected and continue to disclaim any interpretation of

       N.C.G.S. § 15A-1419(a)(1)–(4) which imposes “a general rule that any claim not

       brought on direct appeal is forfeited on state collateral review.” State v. Fair, 354 N.C.

       131, 166 (2001) (quoting McCarver v. Lee, 221 F.3d 583, 589 (4th Cir. 2000), cert.

       denied, 531 U.S. 1089 (2001)). The rule is not that any claim not litigated on direct

       appeal cannot be brought in post-conviction proceedings. The rule is that such claims

       may be brought unless one or more of the procedural bars set forth in the relevant

       statutes applies and is not waived. On the present record, we are unable to conclude

       that Allen was “in a position to adequately raise the ground or issue underlying” his

       shackling claim on direct appeal but failed to do so. N.C.G.S. § 15A-1419(a)(3).

¶ 62         Having examined the facts and circumstances of Allen’s shackling claim, we

       conclude that the trial court erred in summarily dismissing Allen’s claim as

       procedurally barred because the record does not contain facts necessary to a fair

       resolution of the claim. Because Allen has presented sufficient evidence which would

       entitle him to an evidentiary hearing in the event that he can demonstrate his claim

       is not procedurally barred, we vacate the portion of the MAR court’s order summarily

       dismissing Claim XII of his SMAR and remand to the trial court to conduct an

       evidentiary hearing to determine whether his shackling claim is procedurally barred

       and whether the claim has merit. See McHone, 348 N.C. at 258. At the hearing, as an
                                          STATE V. ALLEN

                                           2021-NCSC-88

                                         Opinion of the Court



       initial matter, Allen will have the burden of proving by a preponderance of the

       evidence (1) that he was shackled, (2) that he was shackled in the courtroom in the

       presence of, and in a manner visible to, the jury, and (3) whether his counsel knew he

       was impermissibly shackled in the courtroom and in the view of the jury.

       B. Claims regarding trial counsel’s access to Smith’s medical records.

¶ 63          At trial, Allen’s counsel sought access to records produced during Smith’s stay

       at the Black Mountain Treatment Center in October 1993, as well as records from a

       period of involuntary commitment she experienced in Stanley County. The trial court

       granted the order but provided that when the documents were produced, the court

       would review them in camera to determine whether they should be disclosed to

       counsel. After conducting this review, the trial court released only the records of

       Smith’s involuntary commitment. The trial court withheld all records obtained from

       the Black Mountain Treatment Center on the grounds that they contained no

       evidence indicating Smith suffered from any pertinent mental health conditions (e.g.,

       conditions which would affect her credibility as a witness), nor any evidence

       indicating substance abuse issues distinct from what Smith herself had admitted to

       at trial.

¶ 64          In his SMAR, Allen supplemented Claim III of his original MAR to include

       additional subclaims relating to the trial court’s refusal to disclose the Black
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                                               2021-NCSC-88

                                            Opinion of the Court



       Mountain Treatment Center records.10 While the precise nature and scope of the

       subclaims in Claim III vary, each is predicated on Allen’s antecedent argument that

       the trial court violated his constitutional rights by failing to release the records to his

       counsel after conducting only an in camera review.11

¶ 65          After determining that Allen was not procedurally barred from pursuing these

       subclaims, the MAR court conducted a “limited evidentiary hearing to determine if

       Defendant suffered any sufficient prejudice to warrant a full evidentiary hearing on

       SMAR sub-claims 3H, 3J, 3K and that portion of sub-claim 3I that relates to the in

       camera examination of the sealed mental health and substance abuse records of

       State’s trial witness Vanessa Smith.” At this hearing, Allen presented testimony from

       Dr. Warren, one of his mental health experts. Dr. Warren testified that although

       Smith was not formally diagnosed with any pertinent mental health conditions at the

       Black Mountain Treatment Center, the records contained evidence that she suffered

       from borderline and antisocial personality disorders. He explained that he based his


              10  Although these allegations are contained within a broader claim alleging IAC
       during the guilt-innocence phase of trial, the MAR court conducted an evidentiary hearing
       solely on these subclaims.
               11 Subclaim 3H contends that defendant’s trial counsel were rendered ineffective by

       the trial court’s unconstitutional refusal to reveal the Black Mountain Treatment Center
       records; Subclaim 3J contends that the trial court impermissibly refused Allen the
       opportunity to conduct voir dire of Smith and Dr. Warren regarding the importance of the
       records prior to the trial court’s determination not to release the records to Allen; Subclaim
       3K contends that Allen should have been allowed to submit extrinsic evidence of Smith’s
       unreliability contained in the records; and the relevant portion of Subclaim 3I contends that
       Allen’s counsel were ineffective because they cross-examined Smith without knowledge of the
       information contained in the records.
                                           STATE V. ALLEN

                                            2021-NCSC-88

                                          Opinion of the Court



       conclusion on the varying and conflicting statements Smith made to staff which were

       contained within the records, as well as the staff’s description of Smith as “spiritually

       bankrupt,” which he asserted was a term of art used by mental health professionals

       to refer to an individual who suffers from certain mental illnesses. The parties

       subsequently submitted post-hearing briefs. Ultimately, the MAR court entered an

       order containing numerous findings of fact in support of its conclusion of law that

       Allen “has failed to establish that he suffered any sufficient prejudice to warrant a

       full evidentiary hearing on [SMAR Subclaims 3H, 3J, 3K and the relevant portion of

       3I].” The MAR court dismissed these subclaims.

¶ 66         There were two bases for the MAR court’s conclusion that Allen could not have

       been prejudiced by the trial court’s refusal to convey Smith’s Black Mountain

       Treatment Center records. First, the MAR court found that the records were “bereft

       of any evidence to support an Axis II Personality B Complex Array diagnosis” and

       that Dr. Warren’s attestations to the contrary were “wholly unpersuasive.” Second,

       the MAR court found that Allen was permitted to “vigorously cross-examine Smith

       regarding her extensive abuse of several controlled substances, her abuse of alcohol,

       her early departure from a drug treatment facility, and several other topics meant to

       impugn her credibility.”

¶ 67         We read the MAR court’s findings of fact collectively as determining that (1)

       the Black Mountain Treatment Center records did not contain evidence indicating
                                           STATE V. ALLEN

                                             2021-NCSC-88

                                          Opinion of the Court



       Smith suffered from a pertinent mental health condition, and (2) the records did not

       contain evidence regarding Smith’s substance abuse that meaningfully differed from

       the information Smith herself disclosed to the jury during her testimony. In the MAR

       court’s view, because the records did not supply an alternative basis for impeaching

       Smith’s credibility (evidence of a pertinent mental health condition)—and because

       the other information the records contained was largely duplicative of Smith’s

       testimony (evidence of her substance abuse disorders)—Allen could not have been

       prejudiced by the trial court’s failure to release the records.

¶ 68         We reiterate that when the MAR court has entered findings of fact in support

       of its conclusions of law, our review is limited to “determin[ing] whether the findings

       of fact are supported by evidence, whether the findings of fact support the conclusions

       of law, and whether the conclusions of law support the order entered by the trial

       court.” Stevens, 305 N.C. at 720. Our inquiry does not change when, as in this case,

       the MAR court chooses to bifurcate its proceedings and first conducts a limited

       evidentiary hearing on a single potentially dispositive issue, as opposed to

       immediately conducting a full evidentiary hearing on all issues associated with a
                                            STATE V. ALLEN

                                              2021-NCSC-88

                                            Opinion of the Court



       claim.12 Examining the MAR court’s findings of fact, we conclude that they are

       supported by the evidence, that the findings support the MAR court’s conclusions of

       law, and that the conclusions of law in turn justify the order dismissing these

       subclaims.

¶ 69          Although Dr. Warren asserted that the treatment records contained

       information tending to show Smith suffered from a pertinent mental health condition,

       the MAR court was entitled to disbelieve his testimony. The MAR court’s contrary

       inference is supported by the contents of the records themselves, which do not contain

       any reference to or diagnosis of any pertinent mental health disorder, even though

       Smith was examined by multiple physicians. Similarly, although the records

       contained information illustrating the severity and persistence of Smith’s substance

       abuse issues, the transcript of Smith’s cross-examination at trial supports the trial

       court’s finding that the jury was already aware of the extent of her history of chronic

       substance abuse issues and that the medical records would have merely been

       cumulative documentation of an uncontested fact. These findings support the


              12 Allen does argue that the MAR court erred by conducting a limited evidentiary

       hearing, instead of a full evidentiary hearing. However, Allen does not provide support for
       his contention that in conducting a limited hearing, the MAR court “deprived Allen of a full
       opportunity to support his factual allegations that he was entitled to a new trial.” Nor does
       he identify how the limited evidentiary hearing—and the MAR court’s subsequent request
       for post-hearing briefs and its allowance of the further offer of proof from Allen’s post-
       conviction counsel regarding the records from another mental health expert, Dr. Herfkens—
       purportedly fell short of what is required under N.C.G.S. § 15A-1420(c)(1)–(4). Accordingly,
       we find no merit in his contention that the MAR court’s handling of these subclaims violated
       his constitutional rights.
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                                            2021-NCSC-88

                                          Opinion of the Court



       conclusion that Allen “has failed to establish that the trial court’s withholding of the

       Black Mountain [Treatment Center] Records from his trial counsel and the State

       violated any of his constitutional rights or deprived Defendant of a fair trial.”

       Accordingly, we affirm the Order Granting State’s Motion to Dismiss Claims 3H, 3J,

       3K, and a Portion of 3I of Defendant’s Supplemental Motion for Appropriate Relief.

       C. Ineffective assistance of counsel during the sentencing phase.

¶ 70         Allen raised three distinct IAC claims regarding the sentencing phase of his

       trial. First, in Claim VII, Allen argued that his trial counsel were ineffective for

       failing to elicit testimony from a mental health expert to explain the significance of

       lay witness testimony and other evidence presented to the jury at sentencing. Second,

       in Claim VIII, Allen argued that his trial counsel were ineffective for failing to

       adequately investigate and present available mitigation evidence, including by failing

       to meet with and present testimony from various friends, family members, and

       acquaintances of Allen. Third, in Claim IX, Allen argued that his trial counsel were

       ineffective for failing to adequately prepare witnesses to testify during the sentencing

       hearing. In dismissing each of these claims, the MAR court concluded as a matter of

       law that Allen’s counsel were not deficient and that even if they were deficient, any

       deficient performance could not have been prejudicial.

¶ 71         The familiar two-part Strickland test also applies in examining Allen’s

       sentencing-phase IAC claims. However, because the MAR court conducted an
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                                            2021-NCSC-88

                                         Opinion of the Court



       evidentiary hearing, our review of these claims is again limited to “determin[ing]

       whether the findings of fact are supported by evidence, whether the findings of fact

       support the conclusions of law, and whether the conclusions of law support the order

       entered by the trial court.” Matthews, 358 N.C. at 105–06 (quoting Stevens, 305 at

       720). Here, evidence in the record supports the MAR court’s findings of fact on each

       claim. These findings in fact in turn support the conclusion of law that Allen did not

       receive IAC at sentencing.

¶ 72         Regarding Claim VII, we find dispositive the MAR court’s finding of fact that

       in retaining two mental health experts who attempted to examine Allen and

       investigate his mental health by interviewing other sources, Allen’s trial counsel

                    made a reasonable investigation into Defendant’s mental
                    health and background, but Defendant’s reluctance to
                    complete psychological testing and refusal to fully comply
                    with Dr. Warren’s evaluation, coupled with the lack of
                    evidence that Defendant suffered from a mental health
                    disorder that would assist in his defense, led to [the
                    experts] not being called as . . . mental health expert[s] at
                    Defendant’s capital sentencing proceeding. Under these
                    circumstances, any decision trial counsel made not to call
                    a mental health expert at Defendant’s capital sentencing
                    proceeding was reasonable.

       A defendant’s reluctance to cooperate with a mental health professional during

       sentencing does not absolve counsel of its duty to adequately investigate relevant

       mitigating circumstances. However, where the record contains no evidence tending

       to suggest the defendant suffers from a pertinent mental health condition and
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                                            2021-NCSC-88

                                          Opinion of the Court



       defendant’s counsel has retained a mental health expert who diligently attempted to

       elicit relevant information from both the defendant and the defendant’s

       acquaintances, we cannot say that “no competent attorney” would fail to present

       evidence from the mental health expert at sentencing. Premo v. Moore, 562 U.S. 115,

       124 (2011) (explaining that whether “no competent attorney would think a [foregone

       trial strategy] would have failed . . . is the relevant question under Strickland”).

¶ 73         Regarding Claim VIII, we note the MAR court’s finding that the additional

       witnesses Allen claims his counsel failed to present testimony from

                      either (1) did not know Defendant very well, (2) had
                      substantial character flaws that would have weakened
                      Defendant’s mitigation case, (3) would present only
                      cumulative evidence, (4) did not present valid mitigating
                      evidence, or (5) did not fit the mitigation strategy trial
                      counsel chose to pursue at sentencing.

       This finding is both supported by evidence in the record and is sufficient to sustain

       the conclusion that counsel’s failure to call these witnesses could not have been

       prejudicial.

¶ 74         Finally, regarding Claim IX, the findings of fact support the conclusion of law

       that Allen cannot prove prejudice. We affirm the MAR court’s conclusion that Allen

       failed to meet his “burden of proving by a preponderance of the evidence” that the

       “nature and extent of the testimony that” the testifying witnesses would have offered

       had they been better prepared for sentencing could reasonably have altered the

       outcome of his sentencing proceeding. Hyman, 371 N.C. at 386. Accordingly, we
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                                              2021-NCSC-88

                                         Opinion of the Court



       affirm the order dismissing Allen’s claims alleging IAC during the sentencing phase.

                                      III.     Conclusion

¶ 75         We hold that the MAR court erred in summarily dismissing Allen’s guilt-

       innocence phase IAC claims without an evidentiary hearing. Because Allen has

       presented evidence which, if proven true would entitle him to relief, Allen is entitled

       to an evidentiary hearing in accordance with the mandate of N.C.G.S. § 15A-

       1420(c)(1) and McHone, 348 N.C. at 258. We also hold that the MAR court erred in

       dismissing Allen’s shackling claim as procedurally barred without conducting an

       evidentiary hearing to establish facts without which the claim could not fairly be

       resolved. Therefore, we vacate the portions of the MAR court’s orders summarily

       dismissing Claims II, VI, X, XI, XII and the portions of Claim III not addressed during

       the limited evidentiary hearing, and we remand to the MAR court to conduct an

       evidentiary hearing. We affirm the MAR court’s order dismissing Allen’s other claims

       and subclaims.

             AFFIRMED IN PART; VACATED IN PART AND REMANDED.
             Justice BERGER dissenting.

¶ 76         State v. McHone is the anchor to the majority’s claim that it is compelled to

       remand this case to the trial court for an evidentiary hearing. Contrary to the

       majority’s assertions, this Court did not remand McHone for an evidentiary hearing

       but rather for findings of fact based on materials contained in the record. See State

       v. McHone, 348 N.C. 254, 259, 499 S.E.2d 761, 764 (1998). McHone, in clear and

       unambiguous language, “remand[ed] this case to that court in order that it may make

       findings of fact, inter alia, as to whether defendant or defendant’s counsel was served

       with a copy of the original proposed order.” Id. (emphasis added). It is only by virtue

       of the majority’s gross misreading of McHone that the stunning leap can be made

       from this language to the requirement of an evidentiary hearing in every motion for

       appropriate relief.

¶ 77         In addition, the majority claims that McHone compels review of motions for

       appropriate relief “in the light most favorable to the defendant.” As discussed further

       herein, this language cannot be found in McHone, N.C.G.S. § 15A-1420, or the official

       commentary to that section.

¶ 78         The trial court here set forth detailed findings that Claims I, II, IV, V, VI, X,

       XI, and XII in defendant’s motions for appropriate relief were without merit, and

       therefore, defendant was not entitled to an evidentiary hearing. In doing so, the trial

       court performed the gatekeeping function contemplated by the plain language of

       N.C.G.S. § 15A-1420(c) and discussed in McHone. The majority opinion, however,
                                         STATE V. ALLEN

                                           2021-NCSC-88

                                        Berger, J., dissenting



       strips trial court judges of this important gatekeeping function. As a result, trial

       courts will now be forced to spend precious time and resources conducting evidentiary

       hearings on meritless post-conviction motions.

¶ 79         In addition, the majority breathes life into defendant’s newly asserted claim

       that he was impermissibly shackled during his trial which occurred nearly eighteen

       years ago. The trial court correctly found that defendant’s newly imagined claim was

       procedurally barred.    The majority, however, grants defendant an evidentiary

       hearing even though there is no evidence that defendant was shackled during his

       trial, defendant never objected to being shackled at trial, and defendant failed to

       argue that he was impermissibly shackled in his original appeal.

¶ 80         Furthermore, the majority brings a new form of prejudice into North Carolina’s

       jurisprudence on ineffective assistance of counsel claims: cumulative prejudice.

       Never has a cumulative prejudice standard been enunciated by this Court in this

       context, even though we frequently have addressed Strickland and ineffective

       assistance of council claims. At least here, however, the majority acknowledges that

       their “decision to recognize cumulative prejudice claims is based upon our own

       interpretation of Strickland and IAC doctrine[.]”

¶ 81          Because the majority misreads our precedent, misinterprets a straightforward

       statute, effectively rewrites post-conviction procedure by eliminating no-merit

       determinations by our trial courts, establishes a new standard by which any question
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                                            2021-NCSC-88

                                         Berger, J., dissenting



       of fact raised in a motion for appropriate relief would require a full evidentiary

       hearing, and introduces cumulative prejudice into our ineffective assistance of

       counsel jurisprudence, I respectfully dissent.

       I. N.C.G.S. § 15A-1420 and McHone

¶ 82         Criminal defendants are not entitled to an evidentiary hearing on every claim

       set forth in a motion for appropriate relief. See N.C.G.S. § 15A-1420(c) (2019).

¶ 83         The majority misreads the unique procedural scenario in McHone to support

       its position that any factual dispute entitles a defendant to an evidentiary hearing.

       This Court in McHone did not grant the defendant an evidentiary hearing as the

       majority imagines. McHone, 348 N.C. at 259, 499 S.E.2d at 764. In McHone, the

       defendant made an oral supplemental motion for appropriate relief related to an

       order entered in a prior hearing on a motion for appropriate relief. Id. at 258, 499

       S.E.2d at 763. The defendant contended that the State had engaged in ex parte

       contact with the trial court when it submitted a proposed order denying the prior

       motion for appropriate relief without forwarding a copy to defense counsel. Id. The

       defendant asserted that the ex parte communication violated his due process rights.

       Id. The State did not counter that allegation in the trial court. Id.
¶ 84         However, in response to the defendant’s petition for a writ of certiorari with

       this Court, the State submitted an affidavit with a certified mail return receipt

       showing that the proposed order had been forwarded to defense counsel, countering
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                                             2021-NCSC-88

                                          Berger, J., dissenting



       the allegation raised by the defendant with conflicting evidence. Id. at 259, 499

       S.E.2d at 763–64.

¶ 85         Thus, in McHone, the defendant made a meritorious claim in the trial court

       that his due process rights had been violated. The trial court, without the benefit of

       the affidavit provided to this Court concerning service of the proposed order, only had

       before it the defendant’s allegations concerning             the purported ex        parte

       communication. There was, therefore, a factual question, i.e., whether there was an

       ex parte communication concerning the order that could only be resolved at that time

       through hearing evidence from the State and the defendant. If the trial court had

       been presented with the affidavit from the State concerning service, the factual

       question could have been resolved without an evidentiary hearing.

¶ 86         This Court acknowledged that the trial court was not obligated to conduct an

       evidentiary hearing and remanded the case to the trial court, not for an evidentiary

       hearing but for the entry of findings of fact. Id. at 259, 499 S.E.2d at 764. The

       affidavit provided by the State in its response to the defendant’s petition would allow

       the factual question to be resolved without an evidentiary hearing. The majority

       simply misapprehends what took place in McHone. This Court remanded the case to

       the trial court, not for an evidentiary hearing, but for entry of findings of fact. See id.
       (“This Court is not the appropriate forum for resolving issues of fact, even though the

       State’s affidavit was filed here. We therefore reverse the order of the trial court and
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                                             2021-NCSC-88

                                          Berger, J., dissenting



       remand this case to that court in order that it may make findings of fact, inter alia, as

       to whether defendant or defendant’s counsel was served with a copy of the original

       proposed order.” (emphasis added)).

¶ 87         Further evidence that McHone does not support the majority’s claim is found

       in the plain language of N.C.G.S. § 15A-1420(c), which establishes the framework by

       which trial courts determine whether an evidentiary hearing is appropriate. That

       section states:

                    (1) Any party is entitled to a hearing on questions of law or
                    fact arising from the motion and any supporting or
                    opposing information presented unless the court
                    determines that the motion is without merit. The court must
                    determine, on the basis of these materials and the
                    requirements of this subsection, whether an evidentiary
                    hearing is required to resolve questions of fact. Upon the
                    motion of either party, the judge may direct the attorneys
                    for the parties to appear before him for a conference on any
                    prehearing matter in the case.

                    (2) An evidentiary hearing is not required when the motion
                    is made in the trial court pursuant to G.S. 15A-1414, but
                    the court may hold an evidentiary hearing if it is
                    appropriate to resolve questions of fact.

                    (3) The court must determine the motion without an
                    evidentiary hearing when the motion and supporting and
                    opposing information present only questions of law. The
                    defendant has no right to be present at such a hearing
                    where only questions of law are to be argued.

                    (4) If the court cannot rule upon the motion without the
                    hearing of evidence, it must conduct a hearing for the
                    taking of evidence, and must make findings of fact. The
                    defendant has a right to be present at the evidentiary
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                                           2021-NCSC-88

                                        Berger, J., dissenting



                   hearing and to be represented by counsel. A waiver of the
                   right to be present must be in writing.

                   (5) If an evidentiary hearing is held, the moving party has
                   the burden of proving by a preponderance of the evidence
                   every fact essential to support the motion.

                   (6) A defendant who seeks relief by motion for appropriate
                   relief must show the existence of the asserted ground for
                   relief. Relief must be denied unless prejudice appears, in
                   accordance with G.S. 15A-1443.

                   (7) The court must rule upon the motion and enter its order
                   accordingly. When the motion is based upon an asserted
                   violation of the rights of the defendant under the
                   Constitution or laws or treaties of the United States, the
                   court must make and enter conclusions of law and a
                   statement of the reasons for its determination to the extent
                   required, when taken with other records and transcripts in
                   the case, to indicate whether the defendant has had a full
                   and fair hearing on the merits of the grounds so asserted.

       N.C.G.S. § 15A-1420(c) (emphasis added).

¶ 88         The official commentary to this section further clarifies that

                   [i]t should be noted that the subsections provide for two
                   types of hearings. One is the hearing based upon affidavits,
                   transcripts, or the like, plus matters within the judge’s
                   knowledge, to comply with the parties’ entitlement to a
                   hearing on questions of law and fact. The other is an
                   evidentiary hearing. G.S. 15A-1420(c)(3) provides that if
                   the only question is a question of law then the matter is to
                   be disposed of without an evidentiary hearing. On the
                   other hand, subdivision (4) makes it clear that if it is
                   necessary to take evidence the court must hold an
                   evidentiary hearing at which the defendant has the right
                   to be present and to be represented by counsel, and the
                   judge must make findings of fact. . . .
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                                            2021-NCSC-88

                                         Berger, J., dissenting



                           Pursuant to subsections (c)(5) and (6) the moving
                    party has the burden of proof, by a preponderance of
                    evidence, with regard to facts essential to support the
                    motion. The defendant must show the existence of the
                    ground and substantial prejudice must appear. The
                    definition of prejudice is cross-referenced to G.S. 15A-1443,
                    in the Appeal Article, where the State rule on prejudice and
                    the federal constitutional error rule are set out.

       N.C.G.S. § 15A-1420, Official Commentary (2019).

¶ 89         “It is well-established that the ‘ordinary rules of grammar apply when

       ascertaining the meaning of a statute, and the meaning must be construed according

       to the context and approved usage of the language.’ ” State v. Fuller, 376 N.C. 862,

       867, 855 S.E.2d 260, 265 (2021) (cleaned up) (quoting Dunn v. Pac. Emps. Ins. Co.,

       332 N.C. 129, 134, 418 S.E.2d 645, 648 (1992)). Based on the plain language of

       N.C.G.S. § 15A-1420(c), trial court judges serve as gatekeepers for meritorious

       motions for appropriate relief.    Subsection 15A-1420(c)(1) clearly states that a

       defendant is only entitled to a hearing on a motion for appropriate relief if the trial

       court determines there is merit to the motion. See N.C.G.S. § 15A-1420(c)(1) (“The

       court must determine, on the basis of these materials and the requirements of this

       subsection, whether an evidentiary hearing is required to resolve questions of fact.”)

       However, a determination of merit alone does not guarantee an evidentiary hearing.

¶ 90         As stated in the official commentary, there are two types of hearings: one in

       which the trial court makes factual or legal determinations based upon the contents

       of the motion and supporting evidence; and the other, a full evidentiary hearing. The
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                                            2021-NCSC-88

                                         Berger, J., dissenting



       statute does not demand an evidentiary hearing merely because factual questions are

       presented in a defendant’s motion. Rather, after the trial court has determined that

       the motion is meritorious, the statute and the official commentary contemplate that

       an evidentiary hearing is to be conducted only when the trial court determines such

       a hearing is necessary. See N.C.G.S. § 15A-1420(c); N.C.G.S. § 15A-1420, Official

       Commentary. Thus, an evidentiary hearing is only required when a party’s motion

       (1) has merit, and (2) the trial court determines that it cannot resolve the factual

       questions based on the materials provided by the moving party.

¶ 91         Contrary to the majority’s holding, the trial court here was not “obligated to

       conduct an evidentiary hearing[.]” The majority misreads the statute, skipping the

       merits determination and eliminating the ability for a trial court to resolve factual

       issues based upon the materials submitted without an evidentiary hearing. Instead,

       the majority merges the two inquiries required by the statute into one determination,

       holding that the statute requires an evidentiary hearing must be conducted “to

       resolve disputed issues of fact” regardless of merit.

¶ 92         Moreover, the phrase “disputed issues of fact” does not appear in N.C.G.S. §

       15A-1420(c) or the official commentary because the statute and official commentary

       clearly set forth that merit determinations and hearings may be conducted by the

       trial court to resolve factual issues short of an evidentiary hearing. See N.C.G.S. §

       15A-1420(c)(1) (“The court must determine, on the basis of these materials and the
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                                           Berger, J., dissenting



       requirements of this subsection, whether an evidentiary hearing is required to resolve

       questions of fact.” (emphasis added)).

¶ 93          Thus, a proper and complete reading of McHone clearly sets forth, consistent

       with the plain language of N.C.G.S. § 15A-1420(c), that a defendant’s motion for

       appropriate relief may be dismissed without an evidentiary hearing on questions of

       law or fact if the trial court determines that the defendant is entitled to no relief, i.e.,

       that the motion has no merit. The majority’s misinterpretation of the statute and

       gross misreading of McHone impermissibly amends N.C.G.S. § 15A-1420(c) and alters

       the plain language of an otherwise straightforward statute.

       II. Standard of Review

¶ 94          The majority’s misreading of McHone and N.C.G.S. § 15A-1420(c) also results

       in its application of an incorrect standard of review. By erroneously stating that the

       summary dismissal of a MAR is reviewed de novo, the majority ignores our precedent

       and eliminates all deference owed to the trial court.

¶ 95          The trial court’s “findings of fact are binding on this Court if they are supported

       by competent evidence and may not be disturbed absent an abuse of discretion. The

       lower court’s conclusions of law are reviewed de novo.” State v. Lane, 370 N.C. 508,

       517, 809 S.E.2d 568, 574 (2018) (cleaned up) (quoting State v. Gardner, 227 N.C. App.

       364, 365–66, 742 S.E.2d 352, 354 (2013)) (adopting the “analogous standard of review

       for a denial of a motion for appropriate relief” as the standard of review for denial of
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                                            2021-NCSC-88

                                         Berger, J., dissenting



       a motion for postconviction DNA testing “because the trial court sits as finder of fact

       in both circumstances.”). Moreover, this Court must refrain from reweighing the

       evidence and should defer to the trial court’s findings of fact which are “binding upon

       the [defendant] if they [a]re supported by the evidence,” even if the evidence is

       conflicting. State v. Stevens, 305 N.C. 712, 719–20, 291 S.E.2d 585, 591 (1982)

       (citations omitted). Critically, where “findings are supported by the evidence in the

       record . . . it is not the duty of this Court to reweigh the evidence presented to the

       trial court.” State v. Johnson, 371 N.C. 870, 881, 821 S.E.2d 822, 831 (2018).

¶ 96         However, the trial court’s determination of merit under N.C.G.S. § 15A-1420(c)

       is reviewed de novo. See Lane, 370 N.C. at 517, 809 S.E.2d at 574.

¶ 97         The majority needlessly muddies the water by conflating our review of the trial

       court’s factfinding with our review of the trial court’s legal conclusion that a MAR is

       without merit. In doing so, the majority eliminates the great deference that must be

       afforded to the trial court’s factual determinations. See State v. Cummings, 361 N.C.

       438, 447, 648 S.E.2d 788, 794 (2007) (“A trial court abuses its discretion if its

       determination is manifestly unsupported by reason and is so arbitrary that it could

       not have been the result of a reasoned decision. In our review, we consider not

       whether we might disagree with the trial court, but whether the trial court’s actions

       are fairly supported by the record.” (cleaned up) (quoting White v. White, 312 N.C.

       770, 777, 324 S.E.2d 829, 833 (1985) and Wainwright v. Witt, 469 U.S. 412, 434
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                                                2021-NCSC-88

                                             Berger, J., dissenting



       (1985))); State v. Larrimore, 340 N.C. 119, 134, 456 S.E.2d 789, 796 (1995)

       (“According, as we must, great deference to the findings of the trial court, we cannot

       find error in its findings of facts . . . .” (citations omitted)).

¶ 98          Here, the majority’s broad application of de novo review ignores the nuance of

       our precedent and results in wholesale reweighing of the evidence. The majority

       further exacerbates this error by also holding that this evidence must be reweighed

       “in the light most favorable to the defendant[.]” This holding, as with the majority’s

       application of de novo review, is without support in either our General Statutes or

       our caselaw.

¶ 99          Nowhere in N.C.G.S. § 15A-1420(c) is it stated that the evidence is to be viewed

       in the light most favorable to the defendant.1 In fact, N.C.G.S. § 15A-1420(c)(6)

       states, “[a] defendant who seeks relief by motion for appropriate relief must show the

       existence of the asserted ground for relief.” N.C.G.S. § 15A-1420(c)(6) (emphasis

       added). The official commentary further clarifies that

                      [p]ursuant to subsections (c)(5) and (6) the moving party
                      has the burden of proof, by a preponderance of evidence,
                      with regard to facts essential to support the motion. The
                      defendant must show the existence of the ground and
                      prejudice must appear.



              1 Interestingly, the majority creates a standard far lower than summary judgment in

       civil procedure, even though here a jury has already determined defendant’s guilt beyond a
       reasonable doubt. The invented “in the light most favorable to the defendant” standard for
       disputed factual issues is astoundingly low. This standard is on par with notice pleading in
       civil procedure. It will be the rare attorney who fails to meet this standard for his client.
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                                           Berger, J., dissenting



        N.C.G.S. § 15A-1420, Official Commentary.

¶ 100          The majority contends that McHone, 348 N.C. at 258, 499 S.E.2d at 763,

        supports its “light most favorable to the defendant” language. The entire text of page

        258 is set forth as follows:

                      [T]he trial court may determine that the motion “is without
                      merit” within the meaning of subsection (c)(1) and deny it
                      without any hearing on questions of law or fact.
                      Defendant’s contention that he was entitled to a hearing
                      and entitled to present evidence simply because his motion
                      for appropriate relief was based in part upon asserted
                      denials of his rights under the Constitution of the United
                      States is without merit.

                              However, defendant also contends in the present
                      case that he was entitled to an evidentiary hearing before
                      the trial court ruled on his motion for appropriate relief as
                      supplemented because some of his asserted grounds for
                      relief required the trial court to resolve questions of fact.
                      We find this contention to have merit. N.C.G.S. § 15A-
                      1420(c)(1) mandates that “[t]he court must determine . . .
                      whether an evidentiary hearing is required to resolve
                      questions of fact.” If the trial court “cannot rule upon the
                      motion without the hearing of evidence, it must conduct a
                      hearing for the taking of evidence, and must make findings
                      of fact.” N.C.G.S. § 15A-1420(c)(4). Under subsection (c)(4),
                      read in pari materia with subsections (c)(1), (c)(2), and
                      (c)(3), an evidentiary hearing is required unless the motion
                      presents assertions of fact which will entitle the defendant
                      to no relief even if resolved in his favor, or the motion
                      presents only questions of law, or the motion is made
                      pursuant to N.C.G.S. § 15A-1414 within ten days after
                      entry of judgment.

                            At the 9 December 1996 hearing, defendant
                      contended for the first time that in August 1996, the State
                      had sent to the trial court a proposed order denying
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                                         Berger, J., dissenting



                     defendant’s original motion for appropriate relief without
                     providing defendant with a copy. This matter was not
                     raised or referred to in defendant’s original or
                     supplemental motion for appropriate relief. During the 9
                     December 1996 hearing, the State acknowledged that it did
                     send a proposed order to the trial court and that the trial
                     court signed the State’s proposed order dismissing
                     defendant’s original motion for appropriate relief.
                     Defendant contended at the 9 December hearing that since
                     neither he nor his counsel were served with a copy of the
                     proposed order, the State had engaged in an improper ex
                     parte communication with the trial court in violation of his
                     rights to due process under the state and federal
                     constitutions. Thus, during the 9 December 1996 hearing,
                     defendant orally moved for the first time to have the
                     August 1996 order denying his original motion for
                     appropriate relief vacated because of the ex parte contact.
                     The trial court summarily denied that motion and entered
                     its 9 December 1996 order denying defendant’s motion for
                     appropriate relief as supplemented.

        McHone, 348 N.C. at 257–58, 499 S.E.2d at 763 (second and third alterations in

        original) (citation omitted) (quoting N.C.G.S. § 15A-1420(c)(1) (1997)). As one can

        plainly see, there is no language or inference which could be drawn from this passage

        in McHone that supports the majority’s assertion that we view the evidence in the

        light most favorable to the defendant when reviewing a summary denial of a MAR.

¶ 101         Additionally, the approach implemented by the majority deviates from other

        areas of our caselaw which mandate that when a party makes a motion, we view the

        evidence in the light most favorable to the nonmoving party. See State v. McNeil, 359

        N.C. 800, 804, 617 S.E.2d 271, 274 (2005) (stating that when a defendant makes a

        motion to dismiss, “ ‘[t]he reviewing court considers all evidence in the light most
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                                             2021-NCSC-88

                                          Berger, J., dissenting



        favorable to the State, and the State receives the benefit of every reasonable inference

        supported by that evidence.’ ” (quoting State v. Garcia, 358 N.C. 382, 412–13, 597

        S.E.2d 724, 746 (2004))); Dalton v. Camp, 353 N.C. 647, 651, 548 S.E.2d 704, 707
        (2001) (“When considering a motion for summary judgment, the trial judge must view

        the presented evidence in a light most favorable to the nonmoving party.” (citation

        omitted)); State v. James, 321 N.C. 676, 686, 365 S.E.2d 579, 586 (1988) (“In ruling

        upon a motion to dismiss, the trial court must consider the evidence in the light most

        favorable to the State, allowing every reasonable inference to be drawn therefrom.”

        (citation omitted)).

¶ 102         The majority’s improper application of de novo review eliminates the great

        deference that should be afforded to the trial court’s factual determinations, and the

        majority’s improper reweighing of the evidence nullifies the trial court’s merit

        determination under N.C.G.S. § 15A-1420(c). Further, when combined with the

        majority’s assertion that we must view the evidence in the light most favorable to the

        defendant, the majority runs afoul of the plain reading of N.C.G.S. § 15A-1420(c) by

        eliminating any burden for the defendant other than providing notice to the State.

        III. Ineffective Assistance of Counsel

¶ 103         Defendant filed an MAR and SMAR asserting ineffective assistance of counsel

        (IAC), among other claims. The trial court found no merit pursuant to N.C.G.S. §

        15A-1420 and denied defendant’s claims of IAC without an evidentiary hearing.
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                                          Berger, J., dissenting



        Defendant contends, and the majority agrees, that he was entitled to an evidentiary

        hearing on his IAC claims.

¶ 104         A defendant’s claim for IAC must satisfy the two prongs of Strickland v.

        Washington, 466 U.S. 668 (1984). First, the defendant must show that counsel’s

        performance was deficient. Id. at 687. “Deficient performance may be established by

        showing that counsel’s representation fell below an objective standard of

        reasonableness.” State v. Allen, 360 N.C. 297, 316, 626 S.E.2d 271, 286 (cleaned up)

        (quoting Wiggins v. Smith, 539 U.S. 510, 521 (2003)), cert. denied, 549 U.S. 867
        (2006). Second, the defendant must show that counsel’s deficient performance was

        prejudicial to his defense. Strickland, 466 U.S. at 692. “Generally, to establish

        prejudice, a defendant must show that there is a reasonable probability that, but for

        counsel’s unprofessional errors, the result of the proceeding would have been

        different. A reasonable probability is a probability sufficient to undermine confidence

        in the outcome.” Allen, 360 N.C. at 316, 626 S.E.2d at 286 (cleaned up) (quoting

        Wiggins, 539 U.S. at 534).     When assessing reasonableness, a reviewing court

        considers “whether counsel’s assistance was reasonable considering all the

        circumstances.” Strickland, 466 U.S. at 688.

¶ 105         Describing the hurdle that defendants must overcome to prevail on an IAC

        claim, this Court has stated that trial “[c]ounsel is given wide latitude in matters of

        strategy, and the burden to show that counsel’s performance fell short of the required
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                                             Berger, J., dissenting



        standard is a heavy one for defendant to bear.” State v. McNeill, 371 N.C. 198, 218–

        19, 813 S.E.2d 797, 812 (2018) (alteration in original) (quoting State v. Fletcher, 354

        N.C. 455, 482, 555 S.E.2d 534, 551 (2001)). Decisions concerning trial strategy “are

        not generally second-guessed by this Court.” State v. Prevatte, 356 N.C. 178, 236, 570

        S.E.2d 440, 472 (2002), cert. denied, 538 U.S. 986 (2003) (citation omitted).

¶ 106          Reading the majority opinion, defendant’s brief, and listening to defendant’s

        oral argument, one could easily conclude that defendant’s two attorneys were grossly

        incompetent and ill-equipped to handle a murder trial. In reality, the two attorneys

        who represented defendant at trial, Carl Atkinson and Pierre Oldham, had

        represented at least twenty-five capital-eligible defendants prior to their

        representation of defendant. Neither attorney had ever been disciplined by the State

        Bar or found to have provided IAC.

¶ 107          Atkinson testified at the evidentiary hearing related to the sentencing phase

        that he frequently consulted with the Center for Death Penalty Litigation about

        defendant’s case.2 Atkinson stated that his purpose in “dealing with the Center for

        Death Penalty Litigation was to get any help [he] could in addressing [defendant’s]

        case.” Atkinson discussed potential experts with the capital defender, and Atkinson

        testified that “every time I needed a recommendation of that nature I went to the




               2 The Center for Death Penalty Litigation represents defendant, and they argue that

        the attorneys who sought their advice were ineffective at trial.
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                                          Berger, J., dissenting



        Center for Death Penalty Litigation.” According to Atkinson, the Center for Death

        Penalty Litigation “basically believed that [defendant was] likely to be convicted” and

        that the attorneys should focus on mitigation at sentencing.

¶ 108         Atkinson also attended the “Capital College.” According to Atkinson, this was

        a group of experts from the Center for Death Penalty Litigation and the Academy of

        Trial Lawyers who met with attorneys handling capital cases. During four days of

        meetings, attorneys would “present . . . discovery information, all [the] materials to

        them,” and the experts would “go through a process of developing [the] case.”

        Atkinson presented defendant’s case to this group of experts.

¶ 109         In addition, defendant attached to his motion for appropriate relief an affidavit

        from Oldham. Oldham’s affidavit stated, in relevant part, the following:

                     3. After being assigned to the case, [co-counsel] and I
                     pursued discovery from the District Attorney and law
                     enforcement agencies. I recall that from the very
                     beginning, we believed that the chief prosecution witness,
                     Vanessa Smith, who claimed to be an eyewitness to the
                     murder, was not telling the truth in her various statements
                     to law enforcement. I also recall that the State’s case was
                     based almost entirely on her testimony.

                     ....

                     5. I do not recall [co-counsel] and me making any strategic
                     decisions concerning the evidence discussed in Claim II of
                     the MAR and SMAR. For example, I do not recall an
                     individual named Troy Spencer contacting either [co-
                     counsel] or me prior to trial. If I had known, however, that
                     he claimed that Vanessa Smith had confessed to planning
                     the murder of Christopher Gailey, and that she had shot
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                                            2021-NCSC-88

                                         Berger, J., dissenting



                    and killed him, I would have contacted him, conducted a
                    thorough investigation of his statements, and considered
                    calling him in the guilt phase of the trial.

                    6. Although I recall our private investigator looking for Mr.
                    Allen’s long-time friend, Christina Fowler, I do not recall
                    that he ever found her, or that he learned from her that
                    Scott Allen spent most of the night of the murder at her
                    house. Had [co-counsel] and I known that, we would have
                    conducted additional investigation of the alibi evidence and
                    considered calling her as a defense witness in the guilt
                    phase of the trial. I do not recall making any strategic
                    decision not to call Ms. Fowler as a witness in either phase
                    of the trial.

                    7. Similarly, I do not recall [co-counsel] and me making any
                    strategic decisions to limit the cross-examination of the
                    State’s witnesses, including Vanessa Smith. . . . We did not
                    have an expert crime scene analyst to assist our
                    understanding of the crime scene, or to help us use that
                    information to impeach Ms. Smith’s story of the crime. . . .

                    8. I have no recollection of a strategic decision not to call a
                    mental health expert to testify during either phase of the
                    trial. . . .

                    9. I also have no recollection of making a strategic decision
                    to limit our investigation of possible other suspects in the
                    case. I do not recall the evidence of other suspects set forth
                    in Mr. Allen’s Claim XI, and do not recall anything about
                    other individuals with a motive to harm Gailey, or their
                    whereabouts on the night of the murder.

        (Emphases added.)

¶ 110         The majority finds that Oldham’s affidavit, littered with statements that he

        does not remember what took place, serves as “direct evidence” that “directly

        undercuts” the MAR court’s finding that counsel made a strategic decision. However,
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                                           Berger, J., dissenting



        Oldham’s affidavit fails to shed any light on defendant’s claim of ineffective assistance

        of counsel. The majority nevertheless uses this as the starting point for a chain of

        assumptions and speculation that it claims provides the factual predicate to an

        evidentiary hearing. This is in the face of the sworn testimony at trial and defense

        counsels’ reasonable and clearly stated trial strategy of casting doubt on Vanessa

        Smith’s credibility.

¶ 111         Defendant here had the benefit of two experienced attorneys at trial who made

        the reasonable decision to focus on the credibility of one of the State’s witnesses. The

        attorneys sought advice on strategy and the use of expert witnesses from the Center

        for Death Penalty Litigation and experts in the field of capital litigation. These

        experts were confident that defendant would be convicted of capital murder and that

        defense counsels’ best strategy to avoid a death sentence for defendant related to

        mitigation evidence during the sentencing phase.

¶ 112         Now, nearly eighteen years after his conviction, the Center for Death Penalty

        Litigation claims the attorneys they coached were ineffective because they did not

        consult a crime scene expert. However, as the trial court found:

                     51. Defendant also contends that trial counsel was
                     ineffective for failing to call an expert crime scene analyst
                     to testify regarding alleged discrepancies between Smith’s
                     testimony and the physical evidence found at the location
                     of Gailey’s murder. (SMAR pp. 12–15) In support of this
                     contention, Defendant presents the affidavit and report of
                     Gregg O. McCrary (“McCrary”), a post-conviction crime
                     scene analyst . . . . However, McCrary’s report is based
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                        2021-NCSC-88

                     Berger, J., dissenting



upon the assumption that “[t]he only link between Scott
Allen and the murder of Christopher Gailey are the
allegations made by Ms. Smith.” (SMAR Ex. B of Ex. 41 p.
12) This assumption is faulty as belied by the record.

52. Several other witnesses corroborated Defendant’s
involvement in the murder. Absent from McCrary’s
analysis and report are the trial testimony of Harold
Blackwelder (“Blackwelder”), Jeffrey Page (“Page”), and
Coy Honeycutt (“Honeycutt”). (See SMAR Ex. 41) At
Defendant’s trial, Blackwelder testified that Defendant
and Smith arrived at a cookout . . . on 10 July 1999. (T pp.
1748–49) As soon as Defendant and Smith arrived,
Blackwelder went outside and saw a white pickup truck
matching the description of Gailey’s truck provided by
Johnson earlier in the trial. (See T p. 1749–50; T pp. 1464–
65) . . . .

53. . . . Defendant told Page that after Defendant shot the
fellow, he “heard the boy groaning, and he also stated that
he would throw a rock and when that rock would hit the
ground the fellow thought that it was him and the fellow
had a gun undoubtedly and went to shooting.” (T p. 1781).
. . . Also, Defendant told Page “that the reason he shot that
boy [was] because he thought that boy was going to rat him
off because he was an escapee from Troy prison.” (T p. 1785)
....

54. . . . [A]ny alleged deficiency of trial counsel and
prejudice resulting therefrom regarding counsel’s failure to
call a crime scene analyst must be viewed in light of
Defendant’s subsequent statements and actions that link
him to Gailey’s murder.

....

56. Here, the record supports the conclusion that trial
counsels’ apparent decision to focus on the doubt created
by Smith’s gaps in memory, addiction and use of controlled
substances on the date of Gailey’s death, and failure to
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                                              2021-NCSC-88

                                           Berger, J., dissenting



                     maintain a cohesive timeline, rather than attempting to
                     prove Defendant’s innocence through the use of a crime
                     scene analyst was a sound tactical decision. In light of the
                     inculpatory statements Defendant made to Page . . . trial
                     counsels’ failure to call an expert crime scene analyst to
                     testify was not an objectively unreasonable decision.
                     Additionally, Defendant has failed to show that he suffered
                     any prejudice from trial counsels’ failure to call a crime
                     scene analyst because Defendant’s statements to Page,
                     possession of Gailey’s truck so soon after Gailey’s demise,
                     and willingness to sell the truck for a price far below the
                     fair market value all tended to demonstrate evidence of
                     Defendant’s guilt. Therefore, Defendant has failed to show
                     that trial counsel deficiently represented Defendant by
                     committing an objectively unreasonable error or that trial
                     counsels’ representation so prejudiced the defense as to
                     deprive Defendant of a fair trial whose result was reliable.

¶ 113         These findings of fact were supported by the evidence presented at trial. The

        majority gives greater weight to the contrary conclusion in the McCrary Report than

        it does to the sworn testimony provided at trial. In fact, at trial, Blackwelder testified

        that defendant arrived at a cookout with a white pickup truck matching the

        description of Gailey’s truck. Defendant told Page that he shot someone in the

        Uwharrie National Forest and “heard the boy groaning, and he also stated that he

        would throw a rock and when that rock would hit the ground the fellow thought that

        it was him and the fellow had a gun undoubtedly and went to shooting.” Defendant

        also told Page that “the reason he shot that boy [was] because he thought that boy

        was going to rat him off because he was an escapee from Troy prison.” Page testified

        that defendant offered to sell him the truck, matching the description of Gailey’s, at
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                                              2021-NCSC-88

                                           Berger, J., dissenting



        significantly less than fair market value.

¶ 114         Based upon this evidence presented at trial, we cannot say that the trial court

        erred in finding that “trial counsels’ failure to call a crime scene analyst” was not an

        objectively unreasonable decision. See Harrington v. Richter, 562 U.S. 86, 106–07

        (2011) (finding that counsel’s decisions to forgo the use of experts can be reasonable

        because counsel was “entitled to formulate a strategy that was reasonable at the time

        and to balance limited resources in accord with effective trial tactics and strategies.”).

        Accordingly, the trial court did not abuse its discretion by resolving the factual issues

        based upon the evidence presented by defendant and did not err in determining that

        defendant’s IAC claim was without merit.

¶ 115         It should be noted that the majority states that they considered all of

        defendant’s guilt-innocence claims in their entirety. In reality, the majority only

        considered the above crime-scene-investigation claim.          Rather than addressing

        defendant’s other four claims (Claims III, VI, X, and XI) to determine whether an

        evidentiary hearing is required, the majority simply states that “[h]aving already

        determined that the MAR court erred in summarily denying one of [defendant’s] IAC

        claims, we need not address his other claims here[.]” Nowhere in N.C.G.S. § 15A-

        1420 or our caselaw is it stated that if an evidentiary hearing should have been held

        on one claim, it must be held on all other claims. It is curious that the majority holds

        that summary dismissal of defendant’s claims was error, yet summarily grants an
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                                               Berger, J., dissenting



        evidentiary hearing for defendant’s claims without analysis and in the face of binding

        findings of fact by the trial court.

        IV. Shackling Claim

¶ 116          In Claim XII of his SMAR, defendant alleged that he was impermissibly

        shackled in the presence of the jury without justification in violation of his statutory

        and constitutional rights. In support of his claim, defendant produced information

        from two jurors and from one alternate juror.

¶ 117          The State argued, and the MAR court agreed, that defendant’s claim was

        procedurally barred under N.C.G.S. § 15A-1419(a)(3) because he was in an adequate

        position to raise the issue on direct appeal but failed to do so. In the alternative, the

        MAR court concluded that even if defendant’s shackling claim was not procedurally

        barred, it was meritless.

¶ 118          Under both the North Carolina Constitution and the United States

        Constitution, a defendant may not be visibly shackled in the courtroom in the

        presence of the jury unless there is a special need for restraints specific to the

        defendant. See State v. Tolley, 290 N.C. 349, 367, 226 S.E.2d 353, 367 (1976); see also

        Deck v. Missouri, 544 U.S. 622, 626 (2005) (“The law has long forbidden routine use

        of visible shackles during the guilt phase; it permits a State to shackle a criminal

        defendant only in the presence of a special need.”).             Consistent with this

        constitutional rule, N.C.G.S § 15A-1031 permits a trial court judge to order a
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        defendant restrained in court only when doing so is “reasonably necessary to

        maintain order, prevent the defendant’s escape, or provide for the safety of persons[,]”

        and only then after the judge “[e]nter[s] in the record out of the presence of the jury

        and in the presence of the person to be restrained and his counsel, if any, the reasons

        for” imposing the restraints and after giving the defendant an opportunity to be heard

        on the matter. N.C.G.S. § 15A-1031 (2019). Typically, adherence to this mandatory

        statutory procedure ensures that evidence of a defendant’s shackling appears in the

        record and transcript of trial, enabling the defendant to challenge the judge’s decision

        to impose restraints on direct appeal.

¶ 119         In this case, there is no evidence in the record or transcript suggesting that

        defendant was restrained during trial. The trial court did not enter factual findings

        as would have been required prior to ordering defendant shackled under N.C.G.S §

        15A-1031. Defendant did not object or otherwise note that he was restrained in a

        manner visible to the jury.

¶ 120         Relying principally on our decision in State v. Hyman, 371 N.C. 363, 817 S.E.2d

        157 (2018), defendant contends that his failure to raise any objection to the purported

        shackling at trial does not preclude post-conviction review. He argues that the

        procedural bar does not apply when the record is completely silent as to whether the

        alleged shackling did or did not occur, because when the record is silent, the

        defendant is not “in a position to adequately raise the ground or issue underlying the
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        [MAR claim]” within the meaning of N.C.G.S. § 15A-1419(a)(3).

¶ 121         This case is distinguishable from Hyman. In Hyman, we held that a defendant

        was not procedurally barred from raising an IAC claim on post-conviction review,

        even though he had not raised the claim on direct appeal. Hyman, 371 N.C. at 385,

        817 S.E.2d at 171. The defendant’s IAC claim challenged his attorney’s failure to

        withdraw from representing him during trial. Id. at 367–68, 817 S.E.2d at 161. The

        attorney worked at a law firm that had previously represented a witness at the

        defendant’s trial whose testimony inculpated the defendant.       Id.   During cross-

        examination, an exchange between counsel and the inculpating witness suggested

        the witness had previously conveyed a different account of the events in question than

        the one the witness was offering at trial. Id. at 365–66, 817 S.E.2d at 160. The

        defendant argued that his attorney should have withdrawn from the representation

        and testified regarding the contents of this alleged conversation. Id. at 367–68, 817

        S.E.2d at 161.

¶ 122         We explained that in order to prove his attorney rendered IAC, the defendant

        was required to prove numerous facts, including (1) that the alleged pretrial

        conversation between the witness and the defendant’s attorney had in fact occurred,

        (2) that during the conversation the witness made statements inconsistent with his

        trial testimony, (3) that the attorney did not have a strategic reason for failing to

        withdraw from representing the defendant, and (4) that the testimony the attorney
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        would have been able to deliver would have benefitted the defendant. Id. at 384–85,

        817 S.E.2d at 170–71. Because “[t]he record developed at trial did not contain any

        information affirmatively tending to show” any of those facts, we concluded that the

        record did not “contain[ ] sufficient information to permit the reviewing court to make

        all the factual and legal determinations necessary to allow a proper resolution of the

        claim in question.”   Id. at 383–84, 817 S.E.2d at 170.       We thus held that the

        procedural bar provided for in N.C.G.S. § 15A-1419(a)(3) did not apply. Id. at 385,

        817 S.E.2d at 171.

¶ 123         The distinction between this case and Hyman is rooted in a basic difference

        between an impermissible shackling claim and an IAC claim. To prevail on an

        impermissible shackling claim, a threshold fact must first be established: that the

        defendant was shackled at trial. Absent some indication in the record or transcript

        that the defendant was shackled, it is appropriate to presume that the defendant was

        not shackled. In the rare case where the defendant is shackled at trial but the

        shackling is not reflected in the record—because the trial court has failed to adhere

        to the constitutionally necessary procedural safeguards codified in N.C.G.S § 15A-

        1031—the defendant possesses all of the information necessary to cure that

        deficiency, as the defendant knows whether he or she has been subjected to restraints

        during trial.

¶ 124         By contrast, the same is not true when a defendant brings an IAC claim on
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        direct appeal. On direct appeal, even a fully developed record will generally fail to

        contain information without which the claim cannot be adjudicated. When that

        occurs, the defendant is typically not in a position to fill the necessary gaps in the

        record. Resolving an IAC claim frequently requires information that necessarily is

        not a part of the record at trial, namely whether trial counsel made a conscious choice

        to pursue a given strategy, why that strategy was chosen, and whether that choice

        was reasonable. Thus, “because of the nature of IAC claims, defendants likely will

        not be in a position to adequately develop many IAC claims on direct appeal.” State

        v. Fair, 354 N.C. 131, 167, 557 S.E.2d 500, 525 (2001).

¶ 125         When presented with a “prematurely asserted” IAC claim, the court “shall

        dismiss those claims without prejudice to the defendant’s right to reassert them

        during a subsequent MAR proceeding.” Id.; see also State v. Hyatt, 355 N.C. 642, 668,

        566 S.E.2d 61, 78 (2002) (dismissing without prejudice IAC claim that is “suggested

        by the record but [is] insufficiently developed for review”); State v. Watts, 357 N.C.

        366, 378, 584 S.E.2d 740, 749 (2003) (concluding that defendant did not waive IAC

        claim because “there are evidentiary issues which may need to be developed before

        defendant will be in a position to adequately raise his potential IAC claim”).

¶ 126         However, the nature of shackling claims renders them usually susceptible to

        direct review.   Accordingly, Hyman is fully consistent with application of the

        procedural bar under the circumstances of this case.       See N.C.G.S. § 15A-1415,
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        Official Commentary (2019) (“It should also be taken into account with the latter

        consideration that additional finality has been added in G.S. 15A-1419 by making it

        clear that there is but one chance to raise available matters after the case is over, and

        if there has been a previous assertion of the error, or opportunity to assert the error,

        by motion or appeal, a later motion may be denied on that basis.”); see also N.C.G.S.

        § 15A-1419, Official Commentary (2019) (“[O]nce a matter has been litigated or there

        has been opportunity to litigate a matter, there will not be a right to seek relief by

        additional motions at a later date. Thus, this section provides, in short, that if a

        matter has been determined on the merits upon an appeal, or upon a post-trial motion

        or proceeding, there is no right to litigate the matter again in an additional motion

        for appropriate relief. Similarly, if there has been an opportunity to have the matter

        considered on a previous motion for appropriate relief or appeal the court may deny

        the motion for appropriate relief.”).

        V.    Cumulative Error

¶ 127         Next, defendant claims that his alleged IAC claims in his MAR and SMAR

        amount to cumulative error. The majority rejects our jurisprudence in this area, and

        the MAR court’s conclusion that cumulative error does not apply to IAC claims. While

        the trial court correctly recognized that such a claim has never been sanctioned by

        this Court, the majority now proclaims that the “decision to recognize cumulative

        prejudice claims is based upon our own interpretation of Strickland and IAC
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        doctrine.”

¶ 128         While the majority cites to State v. Thompson, 359 N.C. 77, 604 S.E.2d 850
        (2004); Williams v. Taylor, 529 U.S. 362 (2000); and State v. Lane, 271 N.C. App. 307,

        844 S.E.2d 32 (2020), those cases do not support the proposition that cumulative error

        applies to IAC claims.

¶ 129         Once again, the majority misreads our precedent. Thompson merely reiterated

        a single argument the defendant was attempting to make and did not recognize nor

        adopt the defendant’s position on cumulative prejudice for IAC claims.               See

        Thompson, 359 N.C. at 121–22, 604 S.E.2d at 880.            Furthermore, the majority

        incorrectly asserts that the Supreme Court of the United States recognized

        cumulative prejudice for IAC claims in Williams. In Williams, the Supreme Court

        referred to the cumulation of “the totality of the available mitigation evidence . . . in

        reweighing it against the evidence in aggravation” and not, as the majority

        mistakenly asserts, to cumulative error in IAC claims. Williams, 529 U.S. at 397–98.

¶ 130         Lastly, the majority employs a North Carolina Court of Appeals case, Lane, for

        the proposition that “courts can consider the cumulative effect of alleged errors by

        counsel.” Lane, 271 N.C. App. at 316, 844 S.E.2d at 40. However, Court of Appeals

        precedent is not binding upon this court. See State v. Steen, 376 N.C. 469, 497, 852

        S.E.2d 14, 33 (2020) (Earls, J., concurring in result in part and dissenting in part)

        (“The majority also cites a number of cases from the Court of Appeals; however,
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        ‘precedents set by the Court of Appeals are not binding on this Court.’ ” (quoting

        Mazza v. Med. Mut. Ins. Co., 311 N.C. 621, 631, 319 S.E.2d 217, 223 (1984))). At no

        point in our precedent has this Court applied cumulative error to IAC claims, and we

        should decline to do so now.

        VI.    Conclusion

¶ 131          For the reasons stated herein, I respectfully dissent.3

               Chief Justice NEWBY and Justice BARRINGER join in this dissenting

        opinion.




               3 As to those instances where the majority upholds the trial court’s order, I concur in

        the result only.
